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              EXHIBIT 5
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                                                      Transcript of William Sawyer, Ph.D., Volume 2                                    1 (270 to 273)

                                                             Conducted on October 16, 2018
                                                                       270                                                                      272
1      IN THE CIRCUIT COURT OF THE CITY OF ST. LOUIS                         1                     A P P E A R A N C E S
2                            STATE OF MISSOURI                               2    ON BEHALF OF PLAINTIFFS:
3    - - - - - - - - - - - - - x                                             3    JEFF T. SELDOMRIDGE, ESQUIRE
4     RONALD PETERSON and             :                                      4    The Miller Firm LLC
5     JEFF HALL,                      :                                      5    The Sherman Building
6                    Plaintiffs,      :                                      6    108 Railroad Avenue
7        v.                           :     Civil Action No.                 7    Orange, Virginia 22960
8     MONSANTO COMPANY, et            :     1622-CC01071                     8    (540) 672-4224
9     al.,                            :                                      9
10                   Defendants.      :                                      10
11   - - - - - - - - - - - - - x                                             11   ON BEHALF OF DEFENDANT MONSANTO:
12                                                                           12   JOHN M. KALAS, ESQUIRE
13               *     *     * CONFIDENTIAL *     *    *                     13   GREGORY S. CHERNACK, ESQUIRE
14                                                                           14   Hollingsworth LLP
15            Deposition of WILLIAM SAWYER, Ph.D.                            15   1350 I Street, N.W.
16                              Volume II                                    16   Washington, DC 20005
17                         Fort Myers, Florida                               17   (202) 898-5800
18                    Tuesday, October 16, 2018                              18
19                               9:05 a.m.                                   19   — and —
20                                                                           20
21   Job No.: 212745                                                         21   BERT L. SLONIM, ESQUIRE
22   Pages: 270 - 485                                                        22   Arnold & Porter Kaye Scholer LLP
23   Reported By: RHONDA HALL-BREUWET, RDR, CRR,                             23   250 West 55th Street
24   LCR, CCR, FPR, CLR, NCRA Realtime Systems                               24   New York, New York 10019
25   Administrator                                                           25   (212) 836-8000



                                                                       271                                                                      273
1                            Deposition of WILLIAM SAWYER,                   1          A P P E A R A N C E S      C O N T I N U E D
2    Ph.D., held at the offices of:                                          2
3                                                                            3      ON BEHALF OF DEFENDANT OSBORN & BARR:
4                                                                            4      JENNIFER E. HOEKEL, ESQUIRE (Via Telephone)
5                    Sanibel Harbour Marriott Resort & Spa                   5      SCOTT T. JANSEN, ESQUIRE (Via Telephone)
6                    17260 Harbour Pointe Drive                              6      Armstrong Teasdale, LLP
7                    Fort Myers, Florida 33908                               7      7700 Forsyth Boulevard
8                                                                            8      Suite 1800
9                                                                            9      St. Louis, Missouri 63105
10                                                                           10     (314) 621-5070
11                                                                           11
12                                                                           12
13                           Pursuant to notice, before RHONDA               13     VIDEOGRAPHER:
14   HALL-BREUWET, RDR, CRR, LCR, CCR, FPR, CLR, NCRA                        14     DONALD J. BREUWET
15   Realtime Systems Administrator, Notary Public in                        15
16   and for the State of Florida.                                           16
17                                                                           17
18                                                                           18
19                                                                           19
20                                                                           20
21                                                                           21
22                                                                           22
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                                                                274                                                            276
1                            C O N T E N T S                          1                      E X H I B I T S
2    EXAMINATION OF WILLIAM SAWYER, Ph.D.           PAGE              2                                        PAGE
3    Direct Examination                              281              3    Ex. 21   Deposition Transcript of    324
4    By Mr. Kalas                                                     4             William Sawyer, PhD.,
5    Cross-Examination                               477              5             dated 8/23/18
6    By Mr. Seldomridge                                               6    Ex. 22   Article Titled              326
7    Redirect Examination                            480              7             “Pesticide exposure as
8    By Mr. Kalas                                                     8             risk factor for
9                                                                     9             non-Hodgkin lymphoma
10                                                                    10            including
11                                                                    11            histopathological
12                                                                    12            subgroup
13                                                                    13            analysis”Article Titled
14                                                                    14            “Glyphosate Use and
15                                                                    15            Cancer Incidence in the
16                                                                    16            Agricultural Health
17                                                                    17            Study"
18                                                                    18   Ex. 23   History & Physical for      344
19                                                                    19            Jeff S. Hall, dated
20                                                                    20            3/23/12
21                                                                    21
22                                                                    22
23                                                                    23
24                                                                    24
25                                                                    25



                                                                275                                                            277
1                            E X H I B I T S                          1             E X H IB ITS
2                    (Attached to transcript.)                        2                            PAGE
3                                                                     3 Ex. 24 Article Titled           349
4    SAWYER DEPOSITION EXHIBITS                     PAGE                        “Cigarette Smoking and
                                                                      4
5    Ex. 17         Defendant Monsanto               281
                                                                      5         Risk of Non-Hodgkin’s
6                   Company’s Second Amended
                                                                      6         Lymphoma
7                   Notice of Continued
                                                                      7         Subtypes”Article Titled
8                   Videotaped Deposition of
                                                                      8         “Pesticide exposure as
9                   William Sawyer, Ph.D.
                                                                      9         risk factor for
10   Ex. 18         Plaintiffs' Objections           282
                                                                      10        non-Hodgkin lymphoma
11                  to Defendants' Document
12                  Requests and Response to
                                                                      11        including
13                  the Amended Notice of
                                                                      12        histopathological
14                  Videotaped Deposition of
                                                                      13        subgroup
15                  William Sawyer, Ph.D.                             14        analysis”Article Titled
16   Ex. 19         Dr. William Sawyer               286              15        “Glyphosate Use and
17                  Materials Considered                              16        Cancer Incidence in the
18                  List (Peterson/Hall v.                            17        Agricultural Health
19                  Monsanto Co.)                                     18        Study"
20   Ex. 20         Article Titled                   321              19 Ex. 25 Article Titled          356
21                  “Glyphosate Use and                               20        “Non-Hodgkin’s Lymphoma
22                  Cancer Incidence in the                           21        and Type of Tobacco
23                  Agricultural Health                               22        Smoke,”
24                  Study"                                            23 Ex. 26    National Cancer        363
25                                                                    24        Institute Article Re
                                                                      25        Ethylene Oxide
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                                               278                                                          280
1            E X H IB ITS                            1           P ROCEEDINGS
2                          PAGE                      2         THE   VIDEOGRAPHER: Here begins Media
3 Ex. 27 Article Titled “Tobacco   365               3 Number 1 in the videotaped deposition of William
4        use and non-Hodgkin                         4 Sawyer, Ph.D., in the matter of Peterson and Hall
5        lymphoma: Results from a                    5 versus Monsanto Company, et al., in the Circuit
6        population-based                            6 Court of the City of St. Louis, State of Missouri,
7        case-control study in                       7 Case Number 1622-CC01071.
8        the San Francisco Bay                       8         Today's date is October the 16th, 2018.
9        Area, California,”                          9 The time on the video monitor is 9:05. The
10 Ex. 28 Table 1.14 Carcinogens    368              10 videographer today is Don Breuwet representing
11       in cigarette smoke                          11 Planet Depos. The video -- this video deposition
12 Ex. 29 Revised Glyphosate issue 413               12 is taking place at 17260 Harbour Pointe Drive,
13       Paper, Evaluation of                        13 Fort Myers, Florida.
14       Carcinogenic Potential,                     14        Will counsel please introduce
15       EPA’s Office of                             15 yourselves and state whom you represent.
16       Pesticide Programs,                         16        MR. SELDOMRIDGE: Jeff Seldomridge for
17       December 12, 2017, DP                       17 the plaintiffs.
18       Barcode D444689                             18        MR. KALAS: John Kalas and Greg
19 Ex. 30 TNO Report: “In vitro    439               19 Chernack and Bert Slonim for Monsanto.
20       percutaneous  absorption                    20        THE VIDEOGRAPHER: On the phone?
21       study with 14C                              21        MS. HOEKEL: Jennifer Hoekel, Scott
22       glyphosate using viable                     22 Jansen, Osborne & Barr, on the phone.
23       rat skin membranes"                         23        THE VIDEOGRAPHER: The court reporter
24                                                   24 today is Rhonda Breuwet, representing Planet
25                                                   25 Depos. Will the court reporter please swear in
                                               279                                                          281
1            E X H IB ITS                            1 the witness.
2                          PAGE                      2         THE REPORTER: Raise your right hand.
3 Ex. 31 Final Report:            449                3         Do you solemnly swear the testimony you
4        Evaluation of the                           4 are about to give will be the truth, the whole
5        Percutaneous Absorption                     5 truth, and nothing but the truth?
6        of Roundup Formulations                     6         THE WITNESS: I do.
7        in Man Using an In-Vitro                    7            WILLIAM SAWYER, Ph.D.
8        Technique, Bates-stamped                    8         acknowledged having been duly sworn to
9        MONGLY00135633 - 646                        9 tell the truth and testified upon his oath as
10 Ex. 32 Article Titled          463                10 follows:
11       “Glyphosate                                 11            DIRECT EXAMINATION
12       Biomonitoring for                           12        BY   MR. KALAS:
13       Farmers and Their                           13 Q. Good morning, Dr. Sawyer.
14       Families: Results from                      14 A. Good morning.
15       the Farm Family Exposure                    15        MR. KALAS: I just want to note for the
16       Study”                                      16 record this is a continuation of your deposition
17                                                   17 that started on August 23rd, 2018. And by
18                                                   18 agreement of the parties we'll go five hours on
19                                                   19 the record today. So I'm going to mark as
20                                                   20 Exhibit 17 our Second Amended Notice of Continued
21                                                   21 Videotaped Deposition of William Sawyer.
22                                                   22        (Exhibit Number 17, Defendant Monsanto
23                                                   23 Company’s    Second Amended Notice of Continued
24                                                   24 Videotaped Deposition of William Sawyer, Ph.D.,
25                                                   25 was marked for identification.)
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                                                        282                                                           284
1         BY MR. KALAS:                                       1 Firm?
2     Q.    And have you seen that document before,           2     A. I'd have to double-check the dates. I
3 sir?                                                        3 don't think so. I know I had previously submitted
4     A. I have.                                              4 the -- I don't even remember the date, but the
5     Q. Okay. And you see that this document                 5 prior invoices.
6 had some document requests on it?                           6     Q. Okay. Let me ask you this.
7     A. Yes.                                                 7     A. I can check that possibly during break.
8         MR. KALAS: Okay. And then I'm going                 8     Q. Okay. That'd be great.
9 to mark as Exhibit 18 Plaintiffs' Objections to             9         Let me ask you this. In case you have
10 Defendants' Document Requests and Response to the          10 not submitted any invoices, since August 23rd,
11 Amended Notice of Videotaped Deposition of William         11 2018, have you spent time working on this case?
12 Sawyer, Ph.D.                                              12 A. I have.
13        (Exhibit Number 18, Plaintiffs'                     13 Q. Okay. About how much time would you
14 Objections   to Defendants' Document Requests and          14 say you've spent working on this case?
15 Response to the Amended Notice of Videotaped               15 A. I know in the past ten days, about ten
16 Deposition of William Sawyer, Ph.D., was marked            16 hours.
17 for identification.)                                       17 Q. Okay.
18        BY MR. KALAS:                                       18 A. I'm not clear beyond that. I don't
19 Q. Mark right there.                                       19 think -- I know I put in quite a bit of time prior
20        Have you seen this document before,                 20 to August 23rd, but from August 23rd until about
21 sir?                                                       21 ten days ago, I just don't recall. I don't think
22 A. No.                                                     22 many hours.
23 Q. Okay. We received this document from                    23 Q. And in the past ten days you've worked
24 plaintiffs yesterday, and it was responsive to our         24 about ten hours. And can you remind me of your
25 document requests in Exhibit 17, and there were            25 rate, please?
                                                        283                                                           285
1 two document requests that they stated that they            1     A. 490 per hour.
2 had responsive documents to. And if I could                 2     Q. Okay. So you've worked on about
3 direct your attention to the fourth page of this,           3 $5,000 -- $4,900 worth of work on this case in the
4 paragraph 5. Paragraph 5 asks for billing                   4 past ten days?
5 records, engagements letters, and invoices                  5     A. That's correct. That's pretty
6 prepared or submitted by Dr. Sawyer in connection           6  accurate.
7 with this case to the extent those documents were           7     Q. Okay. What have you been doing in the
8 not previously produced on August 23rd, 2018.               8 past ten days?
9          Do you see that, sir?                              9     A. Primarily reviewing studies and
10 A. I do.                                                   10 miscellaneous documents throughout my file. My
11 Q. And then if you go down to the bottom,                  11 file's over 5,000 pages, and it's just very
12 it states that you will produce responsive                 12 difficult to get through it all, basically, which
13 documents relating to Request Number 5 to the              13 I haven't.
14 extent they are properly discoverable,                     14 Q. What -- what areas do you think you
15 nonprivileged, and are not publicly available              15 haven't gotten through yet as far as subject
16 and/or otherwise produced to defendants in this            16 matter on this case?
17 litigation.                                                17 A. Refreshing myself on studies that I
18         Do you see that?                                   18 reviewed and incorporated into my work in this
19 A. Yes.                                                    19 case dating back to, well, as early
20 Q. Do you have any billing records or                      20 as approximately March of 2017.
21 invoices that you brought today?                           21 Q. Okay. So you haven't -- there's not
22 A. No. I think I provided them at the                      22 new material that you haven't been able to get
23 August 23rd deposition.                                    23 through in the past ten days?
24 Q. Okay. So since August 23rd, 2018, you                   24 A. No, but I have gone through the newer
25 have not submitted any invoices to the Miller              25 materials; however, not to the degree that I would
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1 like. I certainly will be performing further               1     Q. Okay. We'll clean that up. And then
2 review of materials that are already turned over           2  on  14, Number 14, you looked at a document called
3 and already in my file. I will be continuing to            3 "Surfactant Toxicology, Mark A. Martens Toxicology
4 review documents up to the point of trial.                 4 Europe/Africa." What is that document, sir?
5     Q. And let me mark as Exhibit 19 a                     5     A. I'll hand it to you to review.
6 document that was produced to us by plaintiffs,            6     Q. Okay. Let me ask you this: Am I
7 and this is -- it was a supplemental materials             7 correct that all of the documents that are
8 considered list.                                           8 Monsanto documents are in your box that is marked
9         (Exhibit Number 19, Dr. William Sawyer             9 as Exhibit 2 that are on this list?
10 Materials Considered List (Peterson/Hall v.               10 A. What do you mean by Monsanto documents?
11 Monsanto Co.), was marked for identification.)            11 Q. Sure. So the MONGLY documents, I guess
12        BY MR. KALAS:                                      12 Mark A. Martens, that may be it as far as
13 Q. And is this list the newer materials                   13 documents that --
14 that you are referring to?                                14 A. The answer is yes --
15 A. It is, but I need to point out that I                  15 Q. Yeah?
16 was cautious in the sense of not missing anything.        16 A. -- I have everything with me.
17 So in some cases, there are documents that I am           17 Q. Okay. All right. Okay. Thank you.
18 quite certain were probably -- well, I'm certain,         18        Now, I noted on here as well that there
19 actually, not probably. I'm certain, for example,         19 is one epidemiology study on cigarette smoking and
20 Number 4, Helmut Greim, I know that was in my file        20 the risk of non-Hodgkin's lymphoma subtypes,
21 box that was marked Exhibit Number 1 at the last          21 correct? That's Number 21?
22 deposition, or 2. I'm sorry.                              22 A. Correct.
23        But -- so there may be things -- I know            23 Q. That is a study that was in -- looked
24 there are things on this list that are probably           24 at non-Hodgkin's lymphoma subtypes among women,
25 redundant, but I just wanted to be very careful in        25 right?
                                                       287                                                          289
1 not missing anything.                                      1    A. Yes.
2      Q. Okay. And I actually had a couple                  2    Q. Okay. Is that the only epidemiology
3 questions about this list because there are a              3 study on cigarette smoking and non-Hodgkin's
4 couple descriptions that I couldn't make out.              4 lymphoma you've reviewed in preparing your
5         If you go to Entry 11.                             5 opinions in this case?
6      A.  Okay.                                             6    A. I believe so.
7      Q. The first MONGLY entry, 0234, what is              7
8 that? Because that is -- that is -- the MONGLY             8
9 numbers are usually eight digits, and that has             9
10 four digits.                                              10
11 A. Yeah, unfortunately, when I use these                  11
12 documents, I tend to use and in some cases                12
13 memorize those last three digits and ignore the           13
14 rest, and so I should not have done that on the           14
15 list prep.                                                15
16 Q. If you could check.                                    16
17 A. I think I can find it for you.                         17
18 Q. Well, if you could check on that at                    18
19 break like you check for your invoices and see if         19 Q. Okay.
20 you actually have that.                                   20 A. Yes. For certain. And my comment
21 A. Yeah, because I have a folder marked                   21 regarding how you feel that day is kind of, you
22 miscellaneous --                                          22 know, a nonserious response.
23 Q. Sure.                                                  23 Q. Understood.
24 A. -- documents, and I think that's what                  24       If you look at entry -- back on
25 it is.                                                    25 Exhibit 18, if you look at entry 17, you produced
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1 three photographs responsive to entry 17, correct?          1 were to go online and look up this particular
2 Back on Exhibit 18, sir, not 19.                            2 sprayer, it would be obvious whether it has the
3     A. Oh, oh.                                              3 angle tip that looks like this. I didn't research
4     Q. The one to your left.                                4 that.
5     A. Okay. Okay. I'm on the wrong page                    5     Q. Okay. And when you apply Roundup using
6 here.                                                       6 this backpack sprayer, in which direction do you
7     Q. Yeah.                                                7 hold the wand?
8     A. Yeah, that's correct. Yes.                           8     A. I hold it so it's pointing in front of
9     Q. Okay. And I'm holding them up to you,                9 me but down.
10 but these are the -- these are the three                   10 Q. Okay.
11 photographs on the back of this exhibit?                   11 A. And it shoots a thick, heavy stream,
12 A. Yes. I prepared these photos myself.                    12 not an aerosol, not a mist. It just shoots large
13 I was very careful to try to obtain the highest            13 liquid drops in a stream onto the object. And
14 resolution image I could.                                  14 that works perfect in my environment because I
15 Q. Okay. And can you hold those three                      15 have mulch and I occasionally have a weed about
16 photographs up, one by one, for the video, please,         16 the size of that telephone popping up, and I give
17 sir.                                                       17 it a quick blast and with no drip, no overspray,
18 A. Certainly. Be happy to.                                 18 no exposure.
19 Q. Okay. Good. And you can just flip                       19 Q. Okay. And is it your experience that
20 through them.                                              20 when people are using a back -- or excuse me.
21 A. (Witness complies.)                                     21 Strike that.
22 Q. Thank you. So this is the backpack                      22        Is it your experience when you've
23 sprayer that you use at home to apply Roundup,             23 observed people using a wand sprayer they
24 right?                                                     24 generally point out and down?
25 A. That's correct.                                         25 A. I can't answer that. I'm not sure.
                                                        291                                                          293
1      Q. Okay. And this is a wand sprayer,                   1     Q. That's the way you use it, though,
2 correct?                                                    2 right?
3      A. Yes.                                                3     A. Yes. And I usually walk backwards. If
4      Q. Okay. And you have manipulated the tip              4 there's more than just an occasional weed I'll
5 of the sprayer, correct?                                    5 walk backwards just to avoid stepping on areas
6      A. Yes.                                                6 that have been sprayed.
7      Q. Okay. And you've put what looks like                7     Q. Just got to watch out for stumps and
8 sort of a pressurized hose nozzle on the end of             8 roots?
9 that, right?                                                9     A. Yeah. My yard's pretty flat.
10 A. No. No. This is a nozzle that came                      10 Q. Okay.
11 with either this particular unit, which I bought           11 A. As is most of the island. Our highest
12 at northern tools on Route 41, Fort Myers,                 12 elevation is about 3 feet.
13 Florida, which I think is also available on                13
14 Amazon. But the tip -- and I'm having trouble              14
15 recalling. I think this is a tip that was off my           15
16 original or second sprayer.                                16
17 Q. Okay.                                                   17
18 A. Because I think I've had, like, three                   18
19 of them. They don't last that long and they start          19
20 to leak, and I don't screw around with them when           20
21 they start to leak. But this tip may not have              21
22 come with this particular sprayer. It may have,            22
23 but I'm not sure. I just don't remember. And the           23
24 angle attachment there came with this tip, but             24
25 I -- I'm just not sure. You know, I think if you           25
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1                                         1
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11                                        11
12                                        12
13                                        13
14                                        14
15                                        15
16                                        16
17                                        17
18                                        18
19                                        19 Q. Okay. Now, do you -- based on your
20                                        20 review of follicular lymphoma, I'm looking at your
21                                        21 toxicological notes at 116 and 117. That's
22                                        22 Exhibit 6, if you want to look at them. You had,
23                                        23 I guess, a Figure 2 with some pictures of
24                                        24 follicular lymphoma in here.
25                                        25 A. Do you remember which page?
                                    295                                                           297
1                                         1     Q. 116 and 117, sir.
2                                         2     A. Oh, thank you.
3                                         3     Q. You have it. Yep. You're on it, I
4                                         4 think.
5                                         5     A. Page 116?
6                                         6     Q. Yeah. Are you looking at the May one
7                                         7 or the --
8                                         8     A. August.
9                                         9         MR. SELDOMRIDGE: You might want to use
10                                        10 the exhibit.
11                                        11 A. That's August as well.
12                                        12        BY MR. KALAS:
13                                        13 Q. Yeah. So I'm using August.
14                                        14 A. Yeah, that's what I have, is August.
15                                        15 Q. Got it.
16                                        16 A. So page 1- --
17                                        17 Q. -- -16. It's a page with this picture.
18                                        18 I see you on it.
19                                        19 A. Oh, that's page 117. Okay.
20                                        20 Q. Yeah, 116 to 117. I'm sorry.
21                                        21 A. Yeah. Yeah.
22                                        22 Q. And on 117 you have an image there, and
23                                        23 you start the discussion about it on 116. You go
24                                        24 to 118. What were you trying to represent with
25                                        25 this picture in your notes?
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1                                                             1 specifically on follicular. The evidence to a
2                                                             2 known rate of error is simply not there.
3                                                             3      Q. Let me ask you this: When you're
4                                                             4 carrying out a differential diagnosis, how do you
5                                                             5 account for idiopathic cause you of NHL in that?
6                                                             6      A.
7                                                             7
8                                                             8
9                                                             9
10                                                            10
11 Q. Okay. And when you were representing                    11
12 the -- sort of the progression here of follicular          12
13 lymphoma, you'd agree with me that you don't think         13
14 there's a pathological signature based on these            14        And when -- what I did in the Johnson
15 slides of a glyphosate-induced follicular                  15 case and in this case is look at the incidence in
16 lymphoma. You haven't seen any literature on               16 other years, for example, childhood. Is this a
17 that?                                                      17 high rate in childhood or as a young adult or does
18 A. Well, yeah, I can't answer that either                  18 it simply increase into the seventh and eighth
19 way. It's just unknown.                                    19 generation of life, and the answer is it becomes
20 Q. Okay.                                                   20 highly prevalent -- much more prevalent in the
21 A. I mean, there -- glyphosate does not --                 21 seventh and eighth generation of life.
22 well, with most carcinogens, there generally is            22 Q. Do you mean decade or generation?
23 not a specific signature for that carcinogen for           23 A. I'm sorry. Decade.
24 benzene-induced AML versus idiopathic AML. I               24 Q. Okay.
25 mean, they both look the same.                             25 A. Thank you.
                                                        299                                                           301
1     Q. And there's idiopathic NHL as well,                  1     Q. Yeah. Okay. Now, you said you look at
2 right?                                                      2 the instant rate for follicular lymphoma so I'm
3     A. Yes.                                                 3 confused again. Should we be looking at
4     Q. In fact, 90 percent of NHL cases are                 4 epidemiology and incidence rates for follicular
5 considered to be idiopathic, right?                         5 lymphoma or NHL under your methodology, because
6     A. I would have to check the statistics.                6 follicular lymphoma is a subtype of NHL and it has
7 I may have that in my notes. The incident rate              7 been your testimony previously that we should be
8 for follicular lymphoma is 3.18 per 100,000 years.          8 looking at NHL. Now, if -- are you changing that
9 With respect to the question of what percent of             9 or --
10 those are idiopathic, I don't think I'm prepared           10 A. No, no. No.
11 to answer that question right at the moment. It's          11 Q. Okay.
12 such a low incident that it's unlikely that a              12 A. The -- what I did review is the NHANES
13 reliable statistic with a known rate of error              13 database, which is a cross-sectional analysis
14 which has been tested and generally accepted is            14 of -- with respect to follicular lymphoma and NHL
15 available.                                                 15 in general, several thousand individuals in the
16 Q. Well, you've testified, I think, in                     16 US --
17 August that we're supposed to be looking at NHL            17 Q. Okay.
18 generally and not follicular lymphoma because you          18 A. -- which provide statistical analyses
19 believe glyphosate can cause all types of                  19 in terms of the incident rate or the standard
20 lymphoma, right?                                           20 mortality rate at various age groups.
21 A. Yes. That's a good point.                               21 Q. So you look at the incident rate which
22 Q. Okay. And so I'm correct that                           22 gives you some sense of the background incident,
23 90 percent of the cases of NHL are considered              23 but how do you rule out in a particular
24 idiopathic, right?                                         24 plaintiff's case that -- an idiopathic etiology of
25 A. That may be. But I -- I can't speak                     25 their lymphoma? What do you do to rule that out?
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                                     Conducted on October 16, 2018
                                                   302                                                            304
1     A. Well, again, primarily based on the             1
2  NHANES    data because that is a reliable             2
3 statistically tested measurement with a known rate     3
4 of error, and that is the primary basis. It is to      4
5 see if that person falls into an age group in          5
6 which the disease is highly prevalent or is that       6
7 person in an age group where it's very rare.           7
8 That's number one.                                     8
9        Number two, as a toxicologist, I review         9
10 and determine other exposures. And in this case,      10        BY MR. KALAS:
11 for example, ionizing radiation is certainly an       11 Q. Okay. And how did you quantify that
12 important factor to consider. And I found no          12 enhanced -- well, strike that.
13 evidence in the medical records, deposition           13        Did you look at his -- when you were
14 testimony, or other documentation that I've           14 reading  his pathology reports, did you look to see
15 referenced of any prior significant ionizing          15 if there was anything unusual about the shape of
16 radiation events.                                     16 the cells that pointed to glyphosate-based
17 Q. So --                                              17 herbicides as a cause of his lymphoma?
18 A. Also.                                              18 A. No. And in fact, that would be a
19 Q. Go ahead.                                          19 unsupportable exercise which would probably be
20                                                       20 excluded under Daubert. There's no information
21                                                       21 that indicates to a known rate of error that the
22                                                       22 cellular morphology would be any different from
23                                                       23 idiopathic.
24                                                       24 Q. How about --
25                                                       25 A. -- lymphoma.
                                                   303                                                            305
1                                                        1     Q. Sorry. I'm sorry. Were you done?
2                                                        2     A. Lymphoma.
3                                                        3     Q. Okay. How about when you looked at the
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                                      306                                     308
1    BY MR. KALAS:                          1
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                           Conducted on October 16, 2018
                                     310                                                           312
1                                          1     Q. Okay. And so you'd want to look at
2                                          2  both the -- if you were running an epidemiology
3                                          3 study looking at those co-exposures, you'd want to
4                                          4 look at both the number that was uncontrolled and
5                                          5 then the controlled number to see if controlling
6                                          6 for the dioxins contamination caused that number
7                                          7 to go down, right, that caused the glyphosate
8                                          8 number to go down?
9                                          9     A. To some extent. That can be done via
10                                         10 years of exposure. The 2,4-T -- 2,4-D was
11                                         11 primarily reformulated to remove dioxins after the
12                                         12 1960s and early '70s. And so it's a little more
13                                         13 complex than just a yes or no, present or not
14                                         14 present.
15                                         15 Q. Let me ask you this: Do you think
16                                         16 other pesticide exposures are a potential risk
17                                         17 factor for non-Hodgkin's lymphoma depending on the
18                                         18 pesticide?
19                                         19 A. Depending on usage, yes, quantity and
20                                         20 duration.
21                                         21 Q. Okay. Now, in your transcript in
22                                         22 February and in your toxicological notes around
23                                         23 pages 116 to 118, you stated that you're relying
24                                         24 on Drs. Portier, Neugut, and Ritz for their
25                                         25 epidemiology opinions, right?
                                     311                                                           313
1                                          1      A. I'm sorry. What document are you
2                                          2 referring to?
3                                          3      Q. So I'm referring to your toxicological
4                                          4 notes at the pages we're already at, 116 to 118.
5                                          5      A. But you said February.
6                                          6      Q. Right. And then you also stated that
7                                          7 in your deposition. So that was compound. So let
8                                          8 me break it up.
9                                          9         In your toxicological notes at
10                                         10 pages 116 -- you state that you're deferring any
11                                         11 detailed epidemiologic opinions in this matter to
12                                         12 Dr. Portier, Ritz, and Neugut, right?
13                                         13 A. And/or other epidemiologists that are
14                                         14 currently retained by the plaintiffs' firm in this
15                                         15 matter.
16                                         16 Q. Okay. And if I understand correctly,
17                                         17 you're only using epidemiology to evaluate latency
18                                         18 in dose response, right?
19                                         19 A. Yes.
20                                         20 Q. And if we go to Andreotti 2018 which
21                                         21 was previously marked and is in your stack here --
22                                         22 I think it's maybe Exhibit 12?
23                                         23        MR. KALAS: You just passed it,
24                                         24 actually.
25                                         25        ///
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                                                       314                                                           316
1         BY MR. KALAS:                                      1 the amount used, and then they put that in a
2     Q.   All right. I just want to ask you                 2 formula with the days, right?
3 about the dose response and latency data in this.          3      A. Yeah. It's weighted, right.
4 And just by way of foundation, this is what's              4      Q. And that's an accepted design to review
5 known as a cohort study, right?                            5 dose response in an epidemiology study, right?
6     A. Yes.                                                6      A. Yes.
7     Q. And a cohort study is generally more                7      Q. Okay. And what the authors found here,
8  expensive  to conduct than a case-control study,          8  if you  go to page 5, and you look at the
9 right?                                                     9 follicular lymphoma numbers, which are third from
10 A. Yes.                                                   10 the bottom on the left-hand column of page 5,
11 Q. But it has some advantages as compared                 11 is when they measured the individuals who were
12 to a case-control study, correct?                         12 exposed to glyphosate, the amount of follicular
13 A. Yes.                                                   13 lymphoma actually went down than in the
14 Q. For instance, recall bias is not a big                 14 individuals who were not exposed to glyphosate,
15 a concern in a cohort study, right?                       15 right?
16 A. Correct.                                               16 A. No. No. Numbers are not statistically
17 Q. And selection bias is not as big a                     17 significant. There's no change.
18 concern in a cohort study, right?                         18 Q. Okay. So let me rephrase the question.
19 A. Correct.                                               19 Well, let me ask you this: When you have a
20 Q. And proxy bias in the design of this                   20 decreased or elevated odds ratio that is not
21 study is not as big a concern as a case-control           21 statistically significant do you consider that a
22 study, right?                                             22 null finding?
23 A. That, I would defer to the                             23 A. No.
24 epidemiologists --                                        24 Q. Okay. So if it's a not a null finding,
25 Q. Okay.                                                  25 sir, then the numbers went down -- in other words,
                                                       315                                                           317
1     A. -- who have analyzed the study in                   1 when somebody was exposed to glyphosate, they got
2 greater detail than I.                                     2 less follicular lymphoma than what they were not
3     Q. Okay. And cohort studies can be very                3 exposed to glyphosate, right?
4 powerful, correct?                                         4     A. No. We can't say that they actually --
5     A. Yes.                                                5 in group T1, T2, or 3 actually experienced a lower
6     Q. In the case of this study they follow               6 rate because of the variability. Group 1 it could
7 57,000 applicators of glyphosate, right?                   7 have been as high as twice as high, 2.15. We
8     A. Yes.                                                8 don't know because of the variability in that
9     Q. And that is far more -- is a far larger             9 analysis. You know, I really am getting
10 population that is being followed than any of the         10 uncomfortable with this because I have deferred
11 case-control studies on glyphosate, right?                11 the analysis on the enormous amount of
12 A. I have to defer that.                                  12 epidemiological literature to the epidemiologists,
13 Q. Okay. So if we go to Table 2 on this                   13 as I said earlier, and --
14 study, which is on page 4 and then 5, the authors         14 Q. Okay. So let --
15 looked at an intensity weighted dose response. Do         15 A. -- I think you're trying to take me
16 you see that at the top of Table 2?                       16 into that venue unfairly.
17 A. Yes.                                                   17 Q. Well, sir, you've relied on
18 Q. Okay. And intensity weighting would be                 18 epidemiology. You relied on the Eriksson study
19 a way to look at how much glyphosate is used,             19 for your dose response opinions, right?
20 right?                                                    20
21 A. Yes. It was basically the days of                      21
22 glyphosate use.                                           22
23 Q. Well, it's not the days because that's                 23
24 in supplemental Table 1 which is just lifetime            24 Q. So if we go to your toxicological
25 days. What they looked at here was they weighted          25 notes, page 118, sir, middle of the page, you
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1 stated in that second paragraph, last two                  1 have two questions. And the first -- I think
2 sentences, "When exposure for more than ten days           2 you've answered the first one. You do not intend
3 per year were considered the odds ratio was 2.36,          3 to use the Eriksson study or any other
4 95 percent confidence interval 1.045 to 5.37.              4 epidemiology study's dose response metrics to
5 With latency period of greater than ten years the          5 support your opinion that Mr. Hall's NHL was
6 odds ratio was 2.26, 95 percent confidence                 6 caused by glyphosate exposure, correct?
7 interval, 1.16" --                                         7     A. Not on direct exam unless --
8         THE REPORTER: I'm sorry. "Greater                  8     Q. Okay.
9 than ten years, the odds ratio . . ."                      9     A. -- on cross-exam somehow it comes up.
10        BY MR. KALAS:                                      10 Q. My second question is, do you intend to
11 Q. -- "was 2.26, 95 percent confidence                    11 use the Eriksson study or any other epidemiology
12 interval, 1.16 to 4.40. As error rates are                12 study's latency evaluation to support your opinion
13 properly accounted for, these are statistically           13 Mr. Hall's NHL was caused by glyphosate exposure?
14 significant findings."                                    14 A. Yes.
15        Did I read that correctly?                         15 Q. Okay. So then we'll talk about
16 A. You did.                                               16 latency.
17 Q. Okay. Are you going to be tell the                     17        Okay. So if we go to supplementary
18 jury that the dose response data in Eriksson              18 Table 3, please, which is in the very back of the
19 supports your opinion that glyphosate caused              19 Andreotti study. Very back.
20 Mr. Hall's non-Hodgkin's lymphoma?                        20 A. Table 3 continued.
21 A. No. And I made that real clear that I                  21        MR. SELDOMRIDGE: Counsel, do you have
22 defer that to the epidemiologists. What I'm               22 a page number?
23 telling the jury is that the exposure Mr. Hall            23        MR. KALAS: He may not have the
24 sustained is consistent with that of the human            24 supplementary tables on that. So let me mark as
25 epidemiologic studies which have assessed the             25 Exhibit 20 the Andreotti study with the
                                                       319                                                           321
1 incident rate or standard mortality ratios of NHL.         1 supplementary tables on it.
2     Q. Okay. Now, are you going to tell the                2         (Exhibit Number 20, Article Titled
3 jury that the latency data in the Eriksson study           3 “Glyphosate Use and Cancer Incidence in the
4 supports your opinion that Mr. Hall's                      4 Agricultural Health Study," was marked for
5 non-Hodgkin's lymphoma was caused by glyphosate?           5 identification.)
6     A. I would have to look at my latency                  6         BY MR. KALAS:
7 notes.                                                     7     Q. And we're on the second page of
8     Q. It's right below it, sir.                           8 supplementary Table 3 which is lagged lifetime
9     A. One thing I should point out on your                9 days of glyphosate use in the AHS.
10 prior question, was that -- well, never mind.             10        And if you look at the lagged lifetime
11 Q. So you discussed latency and you put                   11 days -- and we'll go back to the intensity
12 the Eriksson study in Table 31 on page 19 --              12 weighted, but if you go back to the lag lifetime
13 119 -- excuse me.                                         13 days, for follicular lymphoma in the 20-year lag,
14 A. Okay.                                                  14 which is the right-hand column, am I correct that
15 Q. So my question is, if you don't intend                 15 as use of glyphosate went up after 20 years, the
16 to tell the jury about the latency data in                16 incidence of NHL -- or excuse me -- follicular
17 Eriksson supporting your opinion that Mr. Hall's          17 lymphoma actually was below one? So it starts at
18 non-Hodgkin's lymphoma was caused by                      18 1.52, nonstatistically significant, then goes to
19 glyphosate-based herbicides, that's fine. I just          19 .92 and .96. And all those are null findings,
20 need to know it right now. But if you do intend           20 right?
21 to tell them, then I need to know that too. So do         21 A. None of them are statistically
22 you intend to tell them that?                             22 significant.
23 A. Could you simplify your question? I'm                  23
24 not clear.                                                24
25 Q. Okay. So I'm going to break down -- I                  25
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                                                        322                                                      324
1                                                             1          BY MR. KALAS:
2                                                             2      Q.    Yeah.
3                                                             3      A. -- accurately answer the question.
4                                                             4      Q. I only have one copy of the August
5                                                             5 transcript, so you can have it.
6                                                             6          (Exhibit Number 21, Deposition
7                                                             7 Transcript of William Sawyer, PhD., dated 8/23/18,
8      Q. Okay. And if you go back to Table 3,                8 was marked for identification.)
9 which is page 6 of 8 in Exhibit 20.                         9          BY MR. KALAS:
10 A. I thought we were on Table 3.                           10 Q. Well, I'm going to read it, and then
11 Q. You're on supplementary Table 3, sir.                   11 you can look at it. I asked you at page 178, line
12 A. Oh.                                                     12 9, "Is T-cell lymphoma a different disease than
13 Q. So go to Table 3, page 6 of 8. When                     13 follicular lymphoma?" And you stated, "Yes, but
14 they did an intensity-weighted lifetime days of            14 both starts out at the stem cell, same stem cell.
15 glyphosate use in the agricultural health study,           15 It's the same area."
16 looking at the 20-year lag for follicular                  16         It's right there marked as Exhibit 21,
17 lymphoma, I'm correct that that data, 1.1, 1.35,           17 page 178, sir.
18 .9, all not statistically significant, I'm correct         18 A. (Reviewing document.)
19                                                            19 Q. Do you recall testifying to that?
20                                                            20 A. Which line number are you asking me?
21                                                            21 Q. 178, 9 to 12, sir.
22 A. No. In a vacuum, just this study                        22 A. Correct, but I went on on the next page
23 alone, it doesn't, although I can point out when           23 and further explained the answer to that in terms
24 you asked me earlier about the relative risk               24 of whether immunosuppression, for example having
25 ratios being less than one, in this example two of         25 AIDS versus a direct mutation, there are different
                                                        323                                                      325
1 the three risk ratios are greater than one. But             1 causes.
2 no conclusion can be made just upon this one study          2     Q. Sure. And I'm not asking about the
3 as the risk ratios in some cases are less than one          3 causes. So that's not why I'm actually asking
4 and in other cases greater than one. It's too               4 about that. What I didn't understand is sort of
5 much variability.                                           5 what you meant by the mechanism there. What do
6     Q. Right. And one thing that you've                     6 you mean by all lymphomas, whether T or B-cell,
7 looked for in previous cases are statistically              7 have a stem cell origin?
8 significant results in epidemiology studies,                8     A. That's true. All T and B-cells are
9 right?                                                      9 differentiated from the stem cell.
10 A. Of course.                                              10 Q. Right. Can you elaborate a little more
11 Q. And statistical significance is                         11 how that works where you have this -- are you
12 important to you because in your opinion it rules          12 saying there's a mutation in the stem cell, sir?
13 out chance, right?                                         13 A. Not necessarily, but certainly the
14 A. Of course.                                              14 commonality is that both are derived -- the B and
15 Q. Okay. Now, at the deposition in                         15 T-cell lymphomas are derived from stem cells.
16 August, you stated that all lymphoma, whether it           16 Q. When you stated that all lymphomas
17 has a T or B-cell origin -- strike that.                   17 share that similarity, you're just talking about
18         At the deposition in August, you stated            18 where they came from and not whether or not
19 that all lymphoma, whether it's T or B-cell,               19 they're the same disease?
20 shares a stem cell origin, right?                          20 A. Right. Different things can happen to
21         MR. SELDOMRIDGE: Objection.                        21 that differentiating cell along its pathway to
22 Mischaracterization.                                       22 become a mature lymphocyte. These cells can --
23 A. I would need to see that specifically                   23 for example, I gave the example of cyclosporine A
24 so I could --                                              24 immunosuppression or AIDS or ionizing radiation or
25         ///                                                25 chemical induction. There's different causes, but
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1 these cells all come from -- the cells that end up          1 and methods and the introduction and the text of
2 in trouble all are sourced from stem cells                  2 the study, did you note that the only odds ratios
3 originally.                                                 3 in the study adjusted for confounding by other
4     Q. Okay.                                                4 pesticides are found in Table 7?
5         MR. KALAS: All right. Let's take a                  5     A. I reviewed this some time ago. What is
6 break. We've been going an hour.                            6 your specific question?
7         THE VIDEOGRAPHER: The time is 10:07.                7     Q. Right. Did you -- did you see any
8  We  are off the record.                                    8  other  odds ratios in this study adjusted for other
9         (Break taken from 10:08 a.m. to                     9 pesticides when looking at your latency analysis
10 10:17 a.m.)                                                10 other than those in Table 7?
11        THE VIDEOGRAPHER: The time is 10:17.                11 A. I don't recall.
12 We are on the record.                                      12 Q. Okay. And we've talked about this many
13        (Exhibit Number 22, Article Titled                  13 times. You believe there are other environmental
14 “Pesticide exposure as risk factor for non-Hodgkin         14 exposures associated with NHL, right?
15 lymphoma including histopathological subgroup              15 A. Yes.
16 analysis”Article Titled “Glyphosate Use and Cancer         16 Q. Okay. And those are the types of
17 Incidence in the Agricultural Health Study," was           17 exposures you asked a client -- or asked about in
18 marked for identification.)                                18 an interview of a client of Mr. Miller's firm,
19        BY MR. KALAS:                                       19 right?
20    Q.   Doctor, I'm marking as Exhibit 22 the              20 A. Yes.
21 Eriksson study. And this is the study discussed            21 Q. Okay. And some of those exposures that
22 in your toxicological notes, correct?                      22 you might ask them about would include other
23 A. With respect to latency, I believe.                     23 pesticides, right?
24 Q. Right. And that's what you're going to                  24 A. Yes.
25 rely upon this study for when you come talk to the         25 Q. Dioxin, correct?
                                                        327                                                            329
1 jury in St. Louis, right?                                   1     A. Or compounds with dioxin would be
2      A. Yes.                                                2 likely contained within.
3      Q. Okay. So let's -- I want to talk about              3     Q. Sure. Benzene, right?
4 latency real quick. First of all, are there any             4     A. Yes.
5 other studies beyond the Agricultural Health Study          5     Q. Smoking?
6 and the Eriksson study that you're aware of that            6     A. Yes.
7 looks at the latency issue in the epidemiology              7     Q. Okay. And in an epidemiology study, if
8 literature?                                                 8 it measured people with exposures to those other
9      A. Only with respect to those I referenced             9 things you believe might be associated with NHL in
10 on page 119.                                               10 addition to exposure to glyphosate, the findings
11 Q. Right. And I should have been more                      11 on glyphosate might be confounded by those other
12 specific in that question. Are there any studies           12 exposures unless they control for them, right?
13 beyond the Agricultural Health Study and the Eric          13 A. I'm going to defer that to the
14 study on glyphosate that you're aware of that look         14 epidemiologists in this case.
15 at the latency issue in the epidemiology                   15 Q. Well, sir, with all due respect, if
16 literature?                                                16 you're going to offer latency opinion about this
17 A. Not beyond what's on page 119.                          17 study, do you have an understanding of whether or
18 Q. Okay. And so when you looked at the                     18 not there were confounders in this study that were
19 study for the latency issue, you looked at the             19 controlled for?
20 materials and methods, right?                              20 A. I don't recall. I'd have to review it
21 A. Yes.                                                    21 again. It's been over a year.
22 Q. Okay. And you also looked at the                        22 Q. Okay. So you'd agree that if you
23 introduction of the study, right?                          23 wanted to evaluate latency to determine whether or
24 A. I did.                                                  24 not glyphosate induces non-Hodgkin's lymphoma in a
25 Q. And when you looked at the materials                    25 statistically significant manner with greater than
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1 ten years since first exposure, you would want to           1 typo.
2 control for other exposures associated with                 2         "For the latency period 1-10 years, no
3 non-Hodgkin's lymphoma, right?                              3 exposed cases were found for MCPA and 2,4,5-T
4         Let me break it up. That was a -- that              4 and/or 2,4-D. Regarding glyphosate, odds ratio
5 was a long question.                                        5 1.11, (95% confidence interval .24 to 5.08) was
6         Some of the -- if you look at page --               6 obtained." Let me stop there.
7 the first page of this study, it states on page --          7         Am I correct that for less than ten
8 on the top paragraph, the third line --                     8  years of latency that is not a positive finding,
9         MR. SELDOMRIDGE: Which one?                         9 1.11 with a confidence interval of .24 to 5.08?
10        MR. KALAS: Top right, third line.                   10 A. Not necessarily.
11        BY MR. KALAS:                                       11 Q. Okay.
12 Q. "Some of these chemicals were                           12 A. One has to, in a latency analysis,
13 contaminated by dioxins, of which                          13 determine if there is a trend. In other words,
14 2,3,7,8-tetrachlorodibenzo-p-dioxin (TCDD) has             14 for example, was the odds ratio perhaps greater
15 been recognized as a complete carcinogen by IARC."         15 than one, which it was, but nonsignificant. And
16        Do you see that?                                    16 when looking at the various latency intervals, is
17 A. Yes.                                                    17 there a positive trend, or when you combine all
18 Q. Okay. And the dioxin -- that's the                      18 the latency intervals is there a statistically
19 dioxin contamination you were talking about                19 significant increased rate. In this case there
20 earlier in 2,4,5-T and 2,4-D, right?                       20 was.
21 A. Yes, and you're obviously familiar with                 21 Q. Okay.
22 that from my work in the nitro case.                       22 A. But I want to answer your question as
23 Q. Right. And so if you go down to the                     23 best I can, but you're sometimes getting into the
24 second full paragraph, in the second line, it              24 epidemiologic aspects of this which I have
25 states, "During the 1970s certain chemicals, e.g.          25 deferred to the epidemiologists.
                                                        331                                                           333
1 the phenoxy herbicide 2,4,5-T, chlorophenols, and           1     Q. Let me ask you this. When you're
2 the insecticide DDT, were prohibited due to health          2 talking about latency to the jury, do you feel
3 concerns."                                                  3 qualified as an expert to discuss the strengths
4         Do you see that?                                    4 and weaknesses of the studies upon which you are
5     A. Yes.                                                 5 opining upon on latency?
6     Q. And then it's -- the next sentence                   6     A. Yes, if we stick just to latency.
7 states, "Later the phenoxy herbicide 2,4-D was              7     Q. Okay. So I'm continuing off latency.
8 banned in Sweden."                                          8 For the less than ten years that is a null
9         Do you see that?                                    9 finding, correct?
10 A. Yes.                                                    10 A. It's not a null finding, it's a
11 Q. And one of the reasons that those                       11 nonsignificant finding. And I can understand how
12 herbicides were banned were because they contained         12 you're using the word "null" versus
13 dioxins, right?                                            13 "nonsignificant." But that doesn't mean that the
14 A. Of course.                                              14 data is not considered in conjunction with the
15 Q. Okay. And so if we go to the latency                    15 rest of the data.
16 analysis that you conducted in this study or that          16 Q. Sure. Okay. And then if we go to
17 you looked at in this study, that is found at the          17 latency period greater than ten years it states
18 top of 1659, top left-hand -- right here, and it           18 that for MCPA there was an odds ratio of 2.81 with
19 actually starts -- the first line starts on 1658.          19 a 95 percent confidence interval of 1.27 to 6.22.
20 So I'm going to read it into the record, and then          20 For 2,4,5-T or 2,4-D there was an odds ratio of
21 I'm going to ask you a few questions.                      21 1.72 with a 95 percent confidence interval of .98
22        So it states, beginning on the bottom               22 to 3.19, and for glyphosate there's an odds ratio
23 of 1658,  "Regarding phenoxy herbicides and                23 of 2.26 with a 95 percent confidence interval of
24 glyphosate, an analysis was made taken the latency         24 1.16 to 4.4, correct?
25 period for exposure into account." And that's a            25 A. Correct. And on page 119 in my report,
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1 I said specifically subjects with more than ten              1 through that paragraph --
2 years with respect to this particular study. So I            2     A. Hang on.
3 have accurately assessed that data in my notes on            3     Q. Sure.
4 page 119.                                                    4     A. Down at the bottom of the page?
5     Q. Okay.                                                 5     Q. Yes. Last full paragraph, left-hand
6     A. So I'm not sure what the problem is.                  6 side.
7     Q. Okay. So if you -- here's my question.                7     A. Okay. I think I have it.
8  For  the less than ten years were there any exposed         8     Q. Okay. It states, "MCPA, even if still
9 cases for MCPA for 2,4,5-T and 2,4-D reported in             9 used, has been largely substituted by other
10 this study? Top line, sir.                                  10 agents, among which glyphosate has been clearly
11 A. Yes. There was an elevated OR for                        11 dominating."
12 glyphosate of 1.11 which is not significant.                12        Did I read that correctly?
13 Q. Not my question, sir. I'm asking you                     13 A. Yes.
14 about the other exposures. For the periods one to           14 Q. And then if you look up again at the
15 ten years were there any exposed cases found for            15 sentence before that, "2,4,5-T, which was
16 MCPA or 2,4,5-T/2,4-D?                                      16 contaminated by TCDD, was prohibited in Sweden in
17 A. No.                                                      17 1977."
18 Q. Okay. So we know that that data point                    18        See that?
19 for glyphosate would not be confounded by MCPA or           19 A. Yes.
20 2,4,5-T and 2,4-D, right? Because there were no             20 Q. Okay. And dioxin is a potential cause
21 co-exposures during that one to ten-year period?            21 of non-Hodgkin's lymphoma, right?
22 A. It's probably a good question but I                      22 A. Of course.
23 didn't quite understand it.                                 23 Q. The 2,4,5-T in Sweden was contaminated
24 Q. Sure. For the less than ten-year                         24 with dioxin, correct?
25 period we know that the data point for glyphosate           25 A. Up until '77, yes.
                                                         335                                                           337
1 would not be confounded by exposure to MCPA,                 1     Q. Okay. And the MCPA was replaced by
2 2,4,5-T or 2,4-D, correct?                                   2 glyphosate, correct? That's what the authors say
3     A. Yes, I think that's true.                             3 here?
4     Q. Okay. But we do know there's -- there                 4     A. Yes.
5 could be co-exposures for the period greater than            5     Q. Okay. And if you go back to the odds
6 ten years, right?                                            6  ratios on 1659, the odds ratio for MCPA is
7     A. No, I would say greater than 40 years.                7 actually slightly higher than glyphosate for
8     Q. Well, right. But they're only                         8 greater than ten years, correct?
9 measuring it ten years, greater than ten years.              9     A. Okay. We're going back to table two.
10 So for the period greater than ten years we know            10 Q. To the statistics, right here, sir.
11 glyphosate -- somebody who used glyphosate could            11 A. Okay. Hang on. Let me --
12 be also exposed to MCPA or 2,4,5-T or 2,4-D or              12 Q. Yeah.
13 some combination, correct?                                  13 A. Now, you're asking if the statistic is
14 A. Yes, but remember, this was a 2008                       14 different?
15 study, and to go back to the 1960s or '70s,                 15 Q. No. I'm asking is the odds ratio for
16 we've -- we're putting a lot of heavy weight on             16 MCPA for greater than ten years latency higher for
17 older workers as opposed to the mean age of the             17 MCPA than for glyphosate?
18 workers. So in -- yes, greater than ten years               18 A. Slightly. The confidence interval is
19 could include co-exposure. However, not many                19 1.27 to 6.22 versus 1.16 to 4.4. So slightly,
20 co-exposures because simply that was so many years          20 yeah.
21 ago.                                                        21 Q. And if glyphosate replaced MCPA in
22 Q. Now, if you go to page 1661, it states,                  22 Sweden and the authors of this study did not
23 that -- and I'm looking in the left-hand side,              23 control for co-exposures when calculating their
24 last full paragraph that starts, "thus."                    24 odds ratios, it's possible that the entire
25         It states, regarding MCPA, halfway                  25 elevated risk for glyphosate could be measuring
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1 the elevated risk for MCPA, right?                            1 MCPA was not. That was only used for the -- a few
2      A. No. The difference in the confidence                  2 of the earlier years.
3 interval, both of these have very significant                 3     Q. When was glyphosate used in this
4 confidence intervals. The differential at the low             4 population -- when did glyphosate come on the
5 end of 1.27 versus the 1.16 is so close that it               5 market in Sweden, sir?
6 wouldn't -- it wouldn't change the result.                    6     A. I believe in '74.
7      Q. Well, let me ask you this: If the                     7     Q. Okay.
8  greater  than ten years group is measuring people            8     A. 1974.
9 who've been farming at least for ten years, since             9     Q. And this measures farmers who used
10 it's measuring exposures greater than ten years,             10 2,4,5-T and 2,4-D with dioxin contamination,
11 some group of those farmers will have replaced               11 right?
12 their MCPA use with glyphosate, right?                       12 A. Right, prior to 1977.
13 A. The farmers who have been farming at                      13 Q. So this population likely goes back far
14 least 31 years would have.                                   14 earlier than 1974, correct?
15 Q. It doesn't state when MCPA was phased                     15 A. Yes. I agree, but the majority of the
16 out in this, does it?                                        16 time interval is post-dioxin and post-MCPA.
17 A. No.                                                       17 Q. You'd agree with me that the failure to
18 Q. Okay. So why do you say 31 years, sir?                    18 adjust for confounding by MCPA and 2,4,5-T and
19 A. I was thinking in terms of 1977 date --                   19 2,4-D is a weakness in this latency evaluation,
20 Q. Okay.                                                     20 correct?
21 A. -- for the 2,4,5-T or 2,4-D.                              21 A. Yes, to some extent, but I think you're
22 Q. Okay. So you don't know when MCPA was                     22 overemphasizing that. No human epidemiologic
23 replaced by glyphosate in Sweden?                            23 study is perfect and cover every -- you know,
24 A. Not in Sweden.                                            24 every aspect. I think we have enough data here to
25 Q. Okay.                                                     25 see that the majority of the exposure would have
                                                          339                                                           341
1     A. In the same era.                                       1 been free of MCPA and dioxins based upon the
2     Q. Okay.                                                  2 dates.
3     A. But I can't -- can't give you the exact                3     Q. So this is a study with a weakness that
4 year.                                                         4 we can give varying weights to in this latency
5     Q. And in those farmers that were exposed                 5 evaluation. What weakness did you see in the AHS
6  to MCPA     and glyphosate, if you don't control for         6 study in its latency evaluation?
7 MCPA in measuring the glyphosate odds ratio you               7     A. I agree that, you know, we can weight
8 may be measuring an increased risk from MCPA                  8 the study with weaknesses. I think you're right
9 rather than glyphosate, right?                                9 that there are certainly weaknesses in any study,
10 A. No. As I said, they did provide the                       10 but one has to weight them and look at the
11 confidence intervals, and at the low end they're             11 objective -- objective evidence and weight it
12 nearly identical. So I don't believe that                    12 accordingly.
13 statistically one would be able to justify that --           13 Q. Yes, sir. So that's what I'm asking
14 Q. Well, doesn't that --                                     14 about. You have two studies with the latency
15 A. -- area.                                                  15 analysis, the AHS study and this study. What
16 Q. Sorry. Were you done?                                     16 weakness in the AHS's latency analysis did you
17 A. Yeah.                                                     17 see?
18 Q. Doesn't that beg the point, sir, if                       18 A. I'm trying to remember where I put the
19 there's -- nearly identical, then the glyphosate             19 study. There it is.
20 odds ratio and confidence interval might be                  20        Well, with respect to latency, the
21 measuring the MCPA-induced NHL in that population            21 study did not -- could not provide any information
22 of farmers even though they happen to use                    22 on latency simply because the findings were not
23 glyphosate, right?                                           23 statistically significant.
24 A. No, because glyphosate was used                           24 Q. Well, are you testifying now, sir, that
25 throughout that entire interval of time where the            25 nonstatistically significant findings provide no
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1 information on whether or not a compound causes            1                                                  .
2 lymphoma?                                                  2
3     A. No. I already pointed out that there                3
4 was an apparent increase rate of follicular                4
5 lymphoma. However, it was not statistically                5
6 significant and I referred to Table 3, I think.            6
7     Q. Well, let's -- let's be clear. If we                7
8  look at the follicular lymphoma number here on            8
9 supplementary Table 3, the highest dose group,             9
10 Tertile 3, had a odds ratio of .96 with a                 10
11 confidence interval of .42 to 2.21, correct?              11
12 A. Yes.                                                   12
13 Q. And that's the highest dosed group,                    13
14 right?                                                    14
15 A. Correct.                                               15
16 Q. Okay. And that is an                                   16
17 intensity-weighted, 20-year-lagged metric,                17
18 correct?                                                  18
19 A. Yes.                                                   19
20 Q. Okay. So what weaknesses in this                       20
21 analysis causes you to weight the Eriksson study          21
22 above it for your latency opinion?                        22
23 A. Something that does not provide any                    23
24 latency information because the results were too          24                      :
25 variable. As I said, the risk ratios in the               25
                                                       343                                                          345
1 earlier latency up to ten years appeared to be             1
2 elevated at 1.5, but it was not statistically              2
3 significant with the range of .73 up to 3.2 times          3
4 that of background. And as the dose increased, we          4
5 did not see any apparent increase in incidence.            5
6 So there just isn't sufficient information here to         6
7 draw any judgment upon latency.                            7
8     Q. So if I understand you correctly, this              8
9 isn't sufficient information to draw judgment on           9     Q. Okay. Now, as a forensic toxicologist
10 latency because it is a null finding, correct?            10 when you have contradictory information regarding
11 A. Yes.                                                   11 something like smoking or anything else like that,
12                                                           12 do you place greater weight on answers that were
13                                                           13 given to questions closer in time to the event?
14                                                           14        MR. SELDOMRIDGE: Objection. Asked and
15                                                           15 answered.
16                                                           16 A. It depends on the scenario. I have --
17                                                           17 I may have already mentioned this in the last
18                                                           18 deposition -- an alcohol case in which the medical
19                                                           19 record revealed one case of beer per day, when the
20                                                           20 testimony was one case of beer per month. The
21                                                           21 medical records did not reveal any hepatic injury
22                                                           22 or liver enzyme elevations or any increased mean
23                                                           23 corpuscular volume measurements of hematology.
24                                                           24 There was nothing to corroborate the one case of
25                                                           25 beer per day. And as a forensic toxicologist I
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1 made note of that and relied upon the testimony of         1
2 one case of beer per month.                                2
3         So you have to look at the full gamut              3
4 of information in making such decisions. What I            4
5 do as a toxicologist, and any good toxicologist            5
6 would do, is present all of the facts in the case,         6
7 which I did. I didn't cherry pick. I presented             7
8 everything in black and white. And I think you             8
9 are now asking me did -- shouldn't I decide this           9
10 based on the earlier date. And certainly that's           10
11 an important factor. But one has to look at all           11
12 the factors.                                              12
13        BY MR. KALAS:                                      13
14    Q.   So if I understand correctly, one of              14
15 the things that is an important factor to you is          15
16 whether the answer was given in an earlier date           16
17 closer in time to the event, right?                       17
18 A. Yes.                                                   18
19                                                           19
20                                                           20
21                                                           21
22                                                           22
23                                                           23
24                                                           24
25                                                           25
                                                       347                                                           349
1                                                            1     A. No.
2                                                            2     Q. Did you review an article by Herrinton,
3                                                            3 et al., entitled "Cigarette Smoking and Risk of
4                                                            4 Non-Hodgkin's Lymphoma Subtypes"?
5                                                            5     A. No.
6                                                            6     Q. Appeared in -- okay. I'm going to mark
7                                                            7 that as Exhibit 24.
8                                                            8         (Exhibit Number 24, Article Titled
9                                                            9 “Cigarette Smoking and Risk of Non-Hodgkin’s
10                                                           10 Lymphoma Subtypes”Article Titled “Pesticide
11                                                           11 exposure as risk factor for non-Hodgkin lymphoma
12                                                           12 including histopathological subgroup
13                                                           13 analysis”Article Titled “Glyphosate Use and Cancer
14                                                           14 Incidence in the Agricultural Health Study," was
15                                                           15 marked for identification.)
16                                                           16        BY MR. KALAS:
17                                                           17 Q. This is an epidemiology study that
18                                                           18 appears in a journal called Cancer Epidemiology
19                                                           19 Biomarkers and Prevention. Have you heard of that
20                                                           20 journal?
21                                                           21 A. Yes.
22                                                           22 Q. Is it a reputable journal, sir?
23                                                           23 A. Peer-reviewed.
24                                                           24 Q. And if you go to Table 2, which is on
25                                                           25 the third page of this, do you see smoking status?
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1     A. Yes.                                                1 right?
2     Q. Okay. And if you look down at                       2    A. Correct. It's not statistically
3 follicular lymphoma, it states that the odds ratio         3 significant, but borderline.
4 for follicular lymphoma for being a former smoker          4    Q. It is a confidence interval of 1 to
5 is 1.9.                                                    5 3.8, right?
6         Do you see that?                                   6    A. Right.
7     A. Yes.                                                7
8     Q. And the confidence interval is 1.2 to               8
9 2.9.                                                       9
10        Do you see that?                                   10
11 A. Yes.                                                   11
12 Q. And that is a statistically significant                12
13 relationship, right?                                      13
14 A. Yes.                                                   14
15 Q. Okay. And Mr. Hall is a former smoker,                 15
16                                                           16
17                                                           17
18                                                           18
19                                                           19
20                                                           20
21                                                           21
22                                                           22
23                                                           23
24                                                           24
25 Q. This isn't a study you found in your                   25
                                                       351                                                          353
1 literature review?                                         1
2     A. No. I did not come across this.                     2
3                                                            3
4                                                            4
5                                                            5
6                                                            6         So if this is the only study out there
7                                                            7 that makes such a claim, it's not generally
8     Q. Right. So if we go back to Table 2, do              8 acceptable to draw causation on just one study.
9 you see duration and intensity of smoking?                 9     Q. You would --
10 A. I see the less than ten years, ten to                  10 A. So there are some factors in terms of
11 20, and greater than 20.                                  11 weighting this. I think it's a good observation
12 Q. And then the number of cigarettes per                  12 that you've presented, but it in itself is very
13 day below that. Do you see that?                          13 weak.
14 A. Yes. That would be -- 20 is basically                  14 Q. You wouldn't draw a causation
15 one pack. There were some packs that were counted         15 conclusion based on one single statistically
16 as 24 but most all of them are 20.                        16 significant study?
17                                                           17 A. No. However, I would if there were
18                                                           18 other studies that corroborated that single
19                                                           19 statistic study.
20                                                           20 Q. Now --
21                                                           21 A. For example, if you had three more
22                                                           22 studies that showed borderline statistics -- we
23 Q. Okay. And if you go to the less than                   23 don't even have one study here that shows the
24 20 cigarettes per day for ten to 20 years there's         24 statistically significant rate. That's the
25 an odds ratio for follicular lymphoma of 1.9,             25 problem. But if we did have one that was
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1 statistically significant and then we had a study           1
2 like this that's borderline and another study like          2
3 this that's borderline, I think we could draw some          3
4 conclusions. But based on weight of the evidence            4
5 methodology -- but here you only have a study               5
6 that's borderline statistic and no others.                  6
7                                                             7
8                                                             8
9                                                             9
10                                                            10
11                                                            11
12                                                            12
13                                                            13        MR. KALAS: Okay. So I'm going to mark
14                                                            14 a study by Stagnaro as Exhibit 25.
15                                                            15        (Exhibit Number 25, Article Titled
16                                                            16 “Non-Hodgkin’s Lymphoma and Type of Tobacco
17                                                            17 Smoke,” was marked for identification.)
18                                                            18        BY MR. KALAS:
19                                                            19 Q. And this is entitled "Non-Hodgkin's
20                                                            20 Lymphoma and Type of Tobacco Smoke," right?
21                                                            21 A. Yes.
22                                                            22 Q. And this is another article you didn't
23                                                            23 find on your literature review, right?
24                                                            24 A. That's correct.
25                                                            25 Q. And it's entitled -- it's from that
                                                        355                                                          357
1                                                             1 same journal, Cancer Epidemiology Biomarkers and
2                                                             2 Prevention, which is peer-reviewed, right?
3                                                             3     A. Yes.
4                                                             4     Q. Okay. And this was put out by
5                                                             5 scientists, at least the lead author, who's at the
6                                                             6 National Cancer Research Institute in Genoa,
7                                                             7 Italy, right?
8     Q. All right.                                           8     A. Yes.
9     A. So I mean we really can't do anything                9     Q. Okay. And if you go to Table 4 on
10 with that statistically because the information is         10 this, page 435, it states, "Number of controls in
11 not ascertained within the text of the study.              11 follicular lymphoma cases OR and 95 percent
12 Q. Cigarette smoke contains benzene,                       12 confidence interval associated with blond tobacco
13 right?                                                     13 smoking."
14 A. Yes.                                                    14        Do you see that?
15 Q. And you testified in August that                        15 A. Yes.
16 benzene is a risk factor for NHL, right?                   16 Q. And this is another study that looks at
17 A. It is.                                                  17 former smokers, right?
18                                                            18 A. Yes.
19                                                            19 Q. And this study finds an odds ratio for
20                                                            20 former blond tobacco smokers of 2.4, right?
21                                                            21 A. Yes, it does.
22                                                            22 Q. And a confidence interval of 1.4 to
23                                                            23 4.1, correct?
24                                                            24 A. Yes.
25                                                            25 Q. That's statistically significant,
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1 right?                                                     1 the tobacco combusted, it forms a number of
2     A. Yes.                                                2 different carcinogens known to induce various
3     Q. That suggests there's an over doubling              3 smoking-related malignancies. And so I would
4 of the risk of being a former blond tobacco smoker         4 really need to assess this study in full to be
5 for follicular lymphoma, right?                            5 able to answer the question you've asked.
6     A. It does. Of course, one has to                      6        BY MR. KALAS:
7 consider the pack-years.                                   7    Q. Well, let me ask you sitting here
8                                                            8 today. Sitting here today, you had not reviewed
9                                                            9 the Stagnaro or Herrinton study which you
10                                                           10 conducted your differential, right?
11                                                           11 A. That is correct.
12                                                           12
13                                                           13
14                                                           14
15 Q. And they had a confidence interval of                  15
16 1.4 to 3.8, right?                                        16
17 A. Yes.                                                   17
18 Q. Okay. And that's statistically                         18
19 significant, right?                                       19
20 A. Yes.                                                   20
21                                                           21
22                                                           22
23                                                           23
24                                                           24
25 Q. Okay. So this study, in conjunction                    25
                                                       359                                                        361
1                                                            1
2                                                            2
3                                                            3
4                                                            4
5                                                            5
6    Q. This study in conjunction -- in                      6
7 conjunction with the Herrinton study we just               7
8 looked at would suggest that former smoking is a           8
9 risk factor for follicular lymphoma, correct?              9
10 A. You may be correct, but I would need to                10 Q. Okay. Now, cigarettes contain ethylene
11 review the study in full to answer that question.         11 oxide, right?
12                                                           12 A. Cigarettes, no. But combustion
13                                                           13 products, yes.
14                                                           14       MR. KALAS: I'm going to mark as
15                                                           15 Exhibit 26 --
16                                                           16       BY MR. KALAS:
17                                                           17 Q. Well, when you say combustion products,
18                                                           18 do you consider cigarette smoke as a combustion
19                                                           19 product?
20       MR. SELDOMRIDGE: Objection.                         20 A. Yes.
21 Misstates.                                                21 Q. Okay. So cigarette smoke contains
22                                                           22 ethylene oxide, right?
23                                                           23 A. Yes.
24                                                           24 Q. And you've stated that you believe that
25                                                           25 ethylene oxide is associated with non-Hodgkin's
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1 lymphoma, right?                                            1         Do you agree with that?
2    A. Yes.                                                  2     A.   Yes.
3    Q. And cigarettes are inhaled, right?                    3     Q. It states as well, "The general
4    A. Yes.                                                  4 population may also be exposed through tobacco
5                                                             5 smoke."
6                                                             6         Do you see that?
7                                                             7     A. Yes.
8                                                             8     Q. Do you agree with that?
9                                                             9     A. Yes.
10                                                            10 Q. "And the use of products that have been
11                                                            11 sterilized with ethylene oxide, such as medical
12                                                            12 products, cosmetics, and beekeeping equipment."
13                                                            13        Do you agree with that?
14                                                            14    A.   Yes.
15                                                            15 Q. Okay. Do you see pesticides mentioned
16                                                            16 as a potential route of exposure for ethylene
17                                                            17 oxide here?
18                                                            18 A. No.
19                                                            19 Q. Okay. Have you been able to quantify
20                                                            20 whether Mr. Hall would have had anything beyond a
21                                                            21 de minimis background exposure to ethylene oxide
22                                                            22 from his use of glyphosate-based herbicides?
23                                                            23 A. I'm not sure I understand your question
24                                                            24 with the word "de minimis."
25                                                            25 Q. Well, okay, have you been able to
                                                        363                                                          365
1                                                             1 quantify how much ethylene oxide exposure Mr. Hall
2                                                             2 has had from glyphosate-based herbicides?
3                                                             3     A. No.
4         MR. KALAS: I'll mark as Exhibit 26 a                4
5 printout from the National Cancer Institute.                5
6         (Exhibit Number 26, National Cancer                 6
7 Institute Article Re Ethylene Oxide, was marked             7
8 for identification.)                                        8
9         BY MR. KALAS:                                       9         MR. KALAS: Okay. Finally, I'm going
10 Q. Have you seen this before, sir?                         10 to mark a study as Exhibit 27.
11 A. No.                                                     11        (Exhibit Number 27, Article Titled
12 Q. Okay. It states -- this is called                       12 “Tobacco   use and non-Hodgkin lymphoma: Results
13 "Ethylene Oxide, National Cancer Institute." And           13 from a population-based case-control study in the
14 what is the National Cancer Institute, sir?                14 San Francisco Bay Area, California,” was marked
15 A. Division of CDC, US governmental agency                 15 for identification.)
16 which performs research on cancer primarily,               16        BY MR. KALAS:
17 cancer treatment, as well as cancer cause.                 17 Q. By Bracci, et al., B-R-A-C-C-I. And
18 Q. Okay. And if you go to the section                      18 this study's entitled "Tobacco Use in
19 that says, "How are people exposed to ethylene             19 Non-Hodgkin's Lymphoma: Results From a
20 oxide?" It states in the second paragraph,                 20 Population-Based Case-Control Study in the
21 "Despite these precautions" -- it states, "Despite         21 San Francisco Bay Area, California."
22 these precautions workers and people who live near         22        Did I read that correctly?
23 industrial facilities that produce or use ethylene         23    A.   Yes.
24 oxide may be exposed to ethylene oxide through             24 Q. Okay. And this is in Cancer Causes and
25 uncontrolled emissions."                                   25 Control, right?
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1    A. Yes.                                           1
2    Q. And that's a peer-reviewed journal,            2
3 right?                                               3
4    A. Yes.                                           4
5                                                      5
6                                                      6
7                                                      7
8                                                      8
9                                                      9           MR. KALAS: Okay. Let's take a break.
10                                                     10          THE VIDEOGRAPHER: This marks the ends
11                                                     11 of Media Number 1 in the deposition of William
12                                                     12 Sawyer. The time is 11:12. We are off the
13                                                     13 record.
14                                                     14          (Break taken from 11:12 a.m. to
15                                                     15 11:26 a.m.)
16                                                     16          THE VIDEOGRAPHER: This marks the
17                                                     17 beginning of Media Number 2 in the deposition of
18                                                     18 William Sawyer. The time is 11:26. We are on the
19                                                     19 record.
20                                                     20          (Exhibit Number 28, Table 1.14
21                                                     21 Carcinogens in cigarette smoke, was marked for
22                                                     22 identification.)
23                                                     23          BY MR. KALAS:
24                                                     24 Q. Dr. Sawyer, I'm marking as Exhibit 28 a
25                                                     25 list titled "Carcinogens in Cigarette Smoke,
                                                 367                                                           369
1                                                      1 Tobacco Smoke and Involuntary Smoking" from the
2                                                      2 NCBI Bookshelf at NIH.
3                                                      3          MR. KALAS: Here you go.
4                                                      4          MR. SELDOMRIDGE: Thank you, Counsel.
5                                                      5          BY MR. KALAS:
6                                                      6      Q.   Do you agree, sir, that all of these
7                                                      7 carcinogens listed in Table 1.14 are in cigarette
8                                                      8 smoke?
9                                                      9      A. Yes.
10                                                     10 Q. Okay. Do you agree that some of these
11                                                     11 carcinogens listed in Table 1.14 are associated
12                                                     12 with non-Hodgkin's lymphoma?
13                                                     13 A. Yes.
14                                                     14 Q. All right. I'm going to mark as
15                                                     15 exhibit -- actually, we already marked it.
16                                                     16         Can you find the Wester study, please.
17                                                     17 I think it's Exhibit 16. Let me know when you
18                                                     18 have found it. Should have been at the stack here
19                                                     19 at the bottom potentially. Would have been the
20                                                     20 last -- there we go.
21                                                     21         All right. So we started looking at
22                                                     22 this study in your last -- or in the previous
23                                                     23 volume of this deposition, but I just want to pick
24                                                     24 up where we left off. Just to lay some
25                                                     25 foundation, this article actually had multiple
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1 experiments that were reported on in it, right?             1     A. Right, right.
2     A. Yes.                                                 2     Q. And so Roundup would contain POEA,
3     Q. And the first experiment they report on              3 right?
4 is something called an in vitro percutaneous                4     A. Yes.
5 absorption of glyphosate model, right?                      5     Q. Okay. And they did this in human skin
6     A. Yes.                                                 6 as opposed to an animal model, right?
7     Q. Okay. And what the authors did here                  7     A. Correct.
8  was  they used a Petri dish model of human skin to         8     Q. Okay. And we like to see in vitro
9 see how much glyphosate was absorbed by that skin           9 tests in human skin more than an animal model
10 for various time periods, correct? And I'm                 10 because it's closer to human in vivo exposures,
11 looking at page 728, sir, Table 1.                         11 right?
12 A. Well, I -- I'm not sure that's right.                   12 A. Correct.
13 I understood that the screening method used a              13 Q. And as you noted in your toxicological
14 flow-through diffusion cell.                               14 notes, there can be important physiological
15 Q. Okay. So what's the distinction of                      15 differences between human skin and the skin of
16 that? I might be wrong about that. Explain to me           16 other animals, right?
17 what a flow-through diffusion cell means.                  17 A. Yes.
18 A. Well, a Petri plate kind of alarms me.                  18 Q. And those physiological differences
19 That's sort of like if I took this lid off my cup          19 could affect absorption either positively or
20 and put fluid in it.                                       20 negatively, right?
21 Q. Okay.                                                   21 A. Yes.
22 A. It doesn't make any sense. This study                   22 Q. And so when they -- if you go back to
23 used the Franz flow-through diffusion cell with            23 the materials and methods, the original Roundup
24 the skin stretched across the opening of that              24 that they used would have had a concentration of
25 cell.                                                      25 about 41 percent glyphosate, right?
                                                        371                                                          373
1     Q. Okay. I was just trying to put it in                 1     A. Yes.
2 layperson's terms. It was an in vitro                       2     Q. Okay. And then they diluted it by 1/20
3 methodology?                                                3 and that would be a 2 percent solution or
4     A. Okay.                                                4 thereabouts, right?
5     Q. But that's fine. I appreciate you                    5     A. Yes.
6  being  specific. So this was an in vitro                   6     Q. And then they diluted it by 1/32 and
7 methodology using human skin, right?                        7 that gets you to approximately, by my math, a
8     A. Yes.                                                 8 1.4 percent dilution. Does that make sense to
9     Q. And there was the Franz methodology,                 9 you?
10 right, F-R-A-N-Z?                                          10 A. Roughly.
11 A. That's right.                                           11 Q. And the 1.4 percent dilution would be
12 Q. Okay. And that's an accepted                            12 similar to what Mr. Hall was using, a 1 percent
13 methodology for in vitro dermal absorption, right?         13 solution, right?
14 A. Yes and I should point out it is                        14 A. Yes.
15 considered a screening study.                              15 Q. And they put different amounts of the
16 Q. Right. And they did this study with                     16 solution on the skin in the study, right?
17 Roundup, right, not glyphosate?                            17 A. Yes.
18 A. I think it was the isoprophylamine                      18 Q. Okay. And if you look at -- back to
19 salt, but I'm just checking.                               19 Table 1, for the undiluted mixture they put
20 Q. So if you go to page 726 on the                         20 volumes of .014, .07, and .14 milliliters per
21 materials and methods, sir, it states in the               21 centimeter squared of their solution on the skin,
22 in vitro percutaneous absorption that they used            22 right? I'm looking in the volume column,
23 undiluted and two dilutions of glyphosate and              23 undiluted.
24 formulation Roundup.                                       24 A. That's right.
25        Do you see that?                                    25 Q. And those corresponded to
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1 concentrations of 15.4 micrograms per centimeter            1 concentration goes up, and there is a limiting
2 squared, 77 micrograms per centimeter squared, and          2 amount which can get through the keratin layer
3 154 micrograms per centimeter squared, right?               3 using a very high concentration can mathematically
4     A. Yes.                                                 4 result in a low percentage. And that's why 0.54
5     Q. And then for the diluted mixtures they               5 microgram per centimeter squared is recommended by
6 put on volumes of either .07 or .14, right?                 6 EPA and other agencies.
7     A. Yes.                                                 7     Q. Well, let me ask you this: If the
8     Q. Okay. And for the 2 percent solution                 8  undiluted  figure here was pure glyphosate as
9 that would correspond to the concentration of 4.1           9 opposed to Roundup containing POEA, but the
10 micrograms per centimeter squared or 8.3                   10 diluted figures both contained -- both still
11 micrograms per centimeter squared, right?                  11 contained POEA, would you use this data to argue
12 A. Yes.                                                    12 that the presence of POEA enhanced absorption?
13 Q. For the 1.4 percent solution that would                 13 A. Can't tell from that.
14 correspond to 2.6 micrograms per centimeter                14 Q. Right. And so when you dilute
15 squared or 5.2 micrograms per centimeter squared,          15 glyphosate, when you add water to a glyphosate
16 right?                                                     16 formulation, the percent absorbed may be enhanced
17 A. Yes.                                                    17 due to the dilution as opposed to the presence of
18 Q. Okay. And the highest data point for                    18 POEA, correct?
19 percentage dose absorbed that they found in this           19 A. Can't determine that. The fact is that
20 human skin study was an absorption rate of about           20 when the maximum, which is again, I think, .54
21 2.2 percent, right?                                        21 microgram per centimeter squared, when that -- let
22 A. Yes, with eight hours, right.                           22 me just check that number.
23 Q. Okay. And that 2.2 percent was a                        23        Well, when a higher dose is used per
24 higher absorption rate than the undiluted                  24 square centimeter, the remainder of it that never
25 absorption rate at eight hours of .4 percent,              25 gets absorbed mathematically reduces the percent
                                                        375                                                           377
1 right?                                                      1 absorbed.
2      A. Yes.                                                2         So that's primarily what we're seeing
3      Q. But the absolute amount absorbed in                 3 here. At 154 microgram per centimeter, the --
4 this model, in this human skin model, would have            4 there's going to be a lot of leftover material on
5 been far lower in the diluted concentration than            5 the outside well that never made it into the
6 in the undiluted concentration, right?                      6 keratin layer or epidermis.
7      A. Correct. But, again, that's only a --               7     Q. Sure. I guess what I'm getting at is a
8 less than a square centimeter area. In the real             8 slightly different point. I probably asked the
9 world the body is vastly -- is vastly larger                9 question unartfully.
10 surface area than a centimeter square. So in the           10        I've heard people argue -- and I'm not
11 real world, the diluted formula over large area of         11 saying you have -- that POEA -- that Roundup is
12 skin is what is of interest.                               12 absorbed at a greater rate than pure glyphosate.
13 Q. Sure. But what this suggests, this                      13 And Roundup, of course, as you know, contains, I
14 human skin model suggests, is that as glyphosate           14 think, about 46 percent water, right?
15 is diluted, the percent absorption may go up,              15 A. Yes.
16 though the absolute amount absorbed on a given             16 Q. And it may be that the enhanced
17 area of skin may go down?                                  17 absorption is not due to the presence of POEA, the
18 A. Yes.                                                    18 enhanced absorption as a percentage is not due to
19 Q. And what this also suggests is that                     19 the presence of POEA, but is instead due to a
20 because all three of these formulations contain            20 dilution of the mixture, correct?
21 POEA that the increase in percent absorption is            21 A. For sure or hypothetically?
22 due to the dilution here and not the presence of           22 Q. Potentially, sir.
23 POEA, right?                                               23 A. Potentially, yes.
24 A. Yes. The methodology has limits on the                  24 Q. Okay. And so you can't -- you're not
25 concentration that should be used because as the           25 going to tell the jury, if I understand correctly,
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1 that it's been conclusively proven that POEA                 1      Q. Now that you've reviewed the Mesnage
2 enhances absorption because it could potentially             2  study,  sir, what type of cells is the Mesnage
3 be caused by the dilution as well, right?                    3 study looking at?
4     A. Well, I would probably reference --                   4      A. Kidney derived.
5 yeah, I think I would explain the POE -- POEA                5      Q. Kidney-derived cells. Those would be
6 does, as a surfactant, increase absorption based             6 cells inside our body, right?
7 on studies that I have referenced on page 56 in my           7      A. Yes.
8 report.                                                      8      Q. Okay. And so once again those are not
9     Q. Okay. You referenced a study that                     9 cells that have lipophilic layers, right?
10 talked about penetration of glyphosate through              10 A. Correct.
11 animal cell membranes in placental cells, right?            11 Q. Those are not cells that have
12 A. Yes.                                                     12 epidermis, correct?
13 Q. Do placental cells have an epidermis,                    13 A. Yes.
14 sir?                                                        14 Q. Those are not cells that have stratum
15 A. No.                                                      15 corneum, correct?
16 Q. Do they have a lipophilic fatty layer                    16 A. Correct.
17 protecting their outside?                                   17 Q. Okay. And our skin has all that,
18 A. No.                                                      18 right?
19 Q. Our skin does, right?                                    19 A. Yes.
20 A. Yes.                                                     20 Q. Okay. So when you're giving the jury
21 Q. Okay. And so I think you stated                          21 all of the data, are you going to tell them that
22 before, and I think it's commendable, that when             22 it is conclusively proven that POEA enhances
23 you're going to talk to the jury you're going to            23 dermal absorption, or are you going to say that it
24 give them all the evidence, right?                          24 could be due to the dilution as well?
25 A. Correct.                                                 25 A. I'm going to state from a mechanistic
                                                         379                                                           381
1      Q. Okay. And when you talk to the jury                  1 standpoint, that it's proven.
2 and tell them that there's -- that -- well, strike           2     Q. Okay. What data are you going to cite
3 that.                                                        3 for that?
4         When you talk to the jury about POEA                 4     A. (Reviewing document.)
5 and its effect on absorption, are you going to               5         The Richards study, footnote 150 on
6 tell them that it's conclusively proven that POEA            6  page  56.
7 enhances absorption, or are you going to tell them           7     Q. So we just discussed that study, sir,
8 it could be due to the POEA or it could be due to            8 about ten minutes ago. That's the study in
9 the dilution?                                                9 placental cells inside the body that don't have an
10 A. Well, it also referenced footnote 161                    10 epidermis.
11 on page 59. It discussed that study.                        11        Let me ask you this: Sitting here
12 Q. Okay. And your sentence for footnote                     12 right now, can you think of a study that supports
13 161 states that, "Other formulations may contain            13 your opinion that surfactants, specifically POEA,
14 higher levels, even as high as 60 to 80 percent as          14 enhance absorption rates as opposed to dilutions?
15 in the formulation Genamin," right?                         15 We've spent ten minutes reviewing it, so --
16 A. Oh, I'm sorry. Reference 162. No,                        16 reviewing your notes, so if you haven't found it
17 that is 161. Yeah, okay.                                    17 yet, you can caveat that you haven't found
18 Q. Okay. And once again that's cell                         18 anything in your notes thus far.
19 membranes that you're discussing, right? Cell               19        But I -- we have other things to get
20 membranes in -- in I believe placental cell lines           20 to, and we have a limited amount of time. So I'll
21 again, correct?                                             21 phrase my question with that caveat.
22        MR. KALAS: Let the record reflect                    22        Based -- after reviewing your notes for
23 Dr.  Sawyer's looking at the Mesnage study cited at         23 a few  minutes, have you found any study that you
24 161.                                                        24 believe conclusively proves that POEA enhances
25        BY MR. KALAS:                                        25 dermal absorption rates as opposed to dilutions
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1 enhancing dermal absorption rates?                          1     A. Maibach.
2      A. No, only the mechanistic information                2     Q. Maibach 1983, sir, correct? That's
3 that POEA surfactants are nonionic detergents and           3 correct, sir, Maibach 1983?
4 enhance the ability of a hydrophilic substance to           4     A. (Reviewing document.)
5 make it through the channels between the                    5         Yes.
6 brick-and-mortar structure of the keratin layer of          6     Q. Okay. And Maibach 1983 stated that
7 the epidermis.                                              7 bound material, i.e. the glyphosate, is not
8      Q. Okay. So mechanistically, sir, is it                8 available for systemic absorption.
9 your testimony that nonionic surfactants disrupt            9         Do you recall that?
10 the epidermal layer? Is that your testimony?               10 A. Yes, but that's an assumption.
11 A. Nonionic surfactants certainly enhance                  11 Q. Okay. Do you recall that the authors
12 hydrophilic component permeability.                        12 of Nielsen 2007, a peer-reviewed study, said the
13 Q. Okay. And you don't have a study using                  13 same thing about glyphosate?
14 Roundup that suggests that it's definitely the             14 A. No.
15 nonionic surfactants as opposed to the dilution            15 Q. Do you recall that the authors of the
16 enhancing the permeability rate, correct?                  16 Ward studies, those are the tape stripping studies
17 A. Yes.                                                    17 that you discussed in your toxicological notes,
18 Q. Now, another thing you've talked about                  18 said the same thing about glyphosate, that it --
19 in the past is that there is bioaccumulation in            19 the amount that stayed in the epidermal layer was
20 the skin which allows for absorption over a number         20 not available for systemic absorption?
21 of days of glyphosate, right? You talked about             21 A. Yes. However, that -- neither of those
22 that --                                                    22 statements are in compliance with OECD who states
23 A. Yes.                                                    23 that the amount of substance not found in the
24 Q. -- at the Johnson trial? Okay.                          24 donor chamber should be considered absorbed and
25         And in Table 2 here, what they looked              25 therefore potentially available in the systemic
                                                        383                                                       385
1 at was actually partitioned from Roundup into the           1 circulation and that may take more time, it may
2 human stratum corneum, right? Back on Wester.               2 take alterations in conditions. For example, wet
3         Table 2 right there. You've got your                3 skin, skin that has been wet in a glove all day
4 pen on it. You see that table, sir?                         4 long, the characteristics of that skin changes.
5     A. Yes.                                                 5     Q. Okay.
6     Q. Okay. And what they found was that                   6     A. There's a number of properties of skin
7 something on the order of .05 percent of the                7 that I've included in my report that show how skin
8 percentage dose accumulated in the stratum                  8 can change and become more permeable under
9 corneum, right?                                             9 different conditions.
10 A. Yes.                                                    10 Q. Well, that's a -- that's -- you're
11 Q. Okay. And basically pretty much all                     11 referring to basically hydration of the skin,
12 the Roundup that they applied to the skin model            12 correct, sir?
13 here sat on top of the model, right? It didn't             13 A. And other factors.
14 penetrate the skin, right?                                 14 Q. Okay. And what data can you point me
15 A. Correct.                                                15 to that shows that hydrated -- that the skin with
16 Q. Okay. And this data doesn't suggest                     16 water and Roundup has an increased absorption rate
17 that any significant amount of Roundup is                  17 as opposed to dry skin?
18 accumulating in the epidermal layer, right?                18 A. That hasn't been studied.
19 A. That is correct.                                        19 Q. Okay. So that's a theory on your part,
20 Q. And do you have another study you can                   20 correct?
21 point me to that suggests that a significant               21 A. No. I'm stating peer-reviewed studies
22 amount of glyphosate is accumulating in the                22 that talk about how glyphosate itself can change
23 epidermal layer?                                           23 the cytokine structure in the skin with chronic
24 A. Yes.                                                    24 exposure and other conditions of the skin can also
25 Q. Which study, sir?                                       25 change dermal absorption to various chemicals --
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1      Q. What --                                         1 that that's -- glyphosate in the skin is available
2      A. -- in general.                                  2 for dermal absorption? He doesn't say that,
3      Q. Sorry. What peer-reviewed study, sir,           3 right?
4 shows that glyphosate changes the cytokine              4     A. No. He states that there's a chemical
5 structure of skin?                                      5 reservoir that forms within the epidermis.
6      A. (Reviewing document.)                           6     Q. Who is Howard Maibach?
7      Q. Have you been able to find a study in           7     A. I'm sorry?
8  the  six minutes that supports that?                   8     Q. Who is Howard Maibach?
9      A. It's in my report. I'm just forgetting          9     A. A toxicologist.
10 where. I did come across my Table 11 which shows       10 Q. He's done a lot of skin absorption
11 enhanced absorption of glyphosate with surfactant.     11 studies over the years, right?
12 Q. Right. And that's -- Table 11 is a TNO              12 A. Yeah. He's an excerpt in percutaneous
13 study, correct?                                        13 absorption.
14 A. Right.                                              14 Q. He's written hundreds of articles in
15                                                        15 the peer-reviewed literature on percutaneous
16                                                        16 absorption, right?
17                                                        17 A. Correct. And I'm just stating what he
18 A. Right. Cocoamine.                                   18 said.
19 Q. Okay.                                               19 Q. And what he said in the Maibach study
20 A. But nonetheless a surfactant.                       20 you referred me to as well was that the bound
21 Q. Right. And we'll look at that study a               21 glyphosate is not available for absorption, right?
22 little bit later, I think. But am I correct that       22 A. Right, but I'm showing in Table 11 that
23 after eight hours of dose in that study, the           23 that's not true, that Monsanto's own data shows
24 maximum amount absorbed was 2.6 percent? You           24 that at 48 hours with a surfactant, we have
25 don't -- you don't present that data in your           25 2.6 percent to 10.3 percent dermal absorption.
                                                    387                                                           389
1 toxicological notes. I'm just asking if you             1     Q. Howard Maibach has done hundreds more
2 recall that, sir.                                       2 dermal absorption studies than you have done,
3    A. Well, it is in my table, yeah.                    3 right?
4    Q. Okay. And the TNO study that you                  4     A. Right, and I'm not relying on any study
5 present here has 48-hour penetration, right?            5 I've performed. I'm just stating what the facts
6    A. Yes.                                              6 are in this case.
7    Q. 48 hours of direct dosing in the -- in            7     Q. So you disagree with Howard Maibach's
8 the diffusion model that they used, right?              8 conclusion about glyphosate as far as the
9    A. Right. 2.6 percent low dose and                   9 availability for dermal absorption in skin?
10 10.3 percent at high dose.                             10 A. Yeah. That's proven correct based on
11                                                        11 Table 11 in Monsanto's own data.
12                                                        12 Q. So the data in the Wester study in the
13                                                        13 peer-reviewed literature does not suggest that
14                                                        14 there's a significant reservoir of glyphosate in
15                                                        15 the epidermis, right?
16                                                        16 A. Can you repeat that?
17                                                        17 Q. The data here does not suggest that
18                                                        18 there's a significant reservoir of glyphosate in
19                                                        19 the epidermis?
20                                                        20 A. In the Wester study?
21                                                        21 Q. Yes, sir.
22                                                        22 A. Correct.
23                                                        23 Q. Okay. Now, if we go to Table 3, the IV
24                                                        24 dose, what happens there is that the monkeys will
25 Q. Okay. So where does Dr. Maibach say                 25 get a direct injection of glyphosate into their
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1 bloodstream -- bloodstream, right?                          1     A. Variability between test animals.
2     A. Yes.                                                 2     Q. And what's the ideal standard deviation
3     Q. Okay. And that's to -- is at least                   3 you'd be looking for in the IV study?
4 designed to mimic a systemic dose, right?                   4     A. 10 percent.
5     A. Yes.                                                 5     Q. Okay. And that's what they had here,
6     Q. Okay. And glyphosate that is dermally                6 right?
7 absorbed is also a systemic dose, right? Goes to            7     A. Yes.
8 all areas of the body?                                      8     Q. Okay. And if you have a standard
9     A. Yes.                                                 9 deviation wider than 10 percent, that would raise
10 Q. Okay. And one of the advantages of an                   10 some concern about the reliability of the results,
11 IV administration as opposed to a dermal                   11 right?
12 administration in a test design such as this is            12 A. Yes.
13 that you have almost perfect recovery of the test          13 Q. Okay. And so the relatively tight
14 compound, right?                                           14 standard deviations here is another reason to
15 A. Yes.                                                    15 believe the design of the IV dosing study was
16 Q. And what happened here when they                        16 good, right?
17 administered the IV dose is that nearly all of the         17 A. Yes.
18 glyphosate was excreted in the urine, right?               18 Q. Okay. Now, if we go to the dermal
19 A. Right, with an IV dose, correct.                        19 doses in Table 4 there are two arms here, right?
20 Q. About 90 times as much glyphosate was                   20 A. Yes.
21 excreted in the urine as the feces, right?                 21 Q. And the high-dose arm and the low-dose
22 A. Yes.                                                    22 arm, correct?
23 Q. Okay. And they were able in the IV                      23 A. Yeah.
24 dose to recover nearly all the administered                24 Q. Okay. And what the study authors
25 glyphosate, right?                                         25 stated in their conclusions about dermal
                                                        391                                                           393
1     A. Yes.                                                 1 absorption based on their -- well, strike that.
2     Q. You don't have any problem with the                  2          You just disagree with the conclusion
3 methodology that they used to design the tests              3 the study authors drew about dermal absorption
4 that they did in Table 3, right?                            4 based upon their reading of Table 4, right?
5     A. I do. The methodology is flawed in                   5      A. Right. The high dose shows minimal
6  that it assumes that dermal dosing would behave in         6  feces  accumulation versus urine, and the higher
7 the same way.                                               7 dose, D, the lower dose is showing a greater
8     Q. Well, that's -- you have a problem with              8 collection in the feces than the urine.
9 the conclusion. I'm asking about the methodology,           9      Q. Okay. And the standard deviations here
10 sir. So do you have any problem with how they              10 for the urine and the feces counts were about, in
11 designed the IV dosing study?                              11 some cases, nearly 80 percent, right?
12 A. No.                                                     12 A. No.
13 Q. Okay. And if we just had the IV dosing                  13 Q. Okay. Do you see the feces count on
14 study it would suggest that glyphosate is mainly           14 dose C?
15 excreted via the urine, right?                             15 A. Yes.
16 A. Yes.                                                    16 Q. Okay. And the standard deviation there
17 Q. Okay. Now, one of the things that they                  17 is -- or the count there was .7 percent and the
18 use here in the IV dosing is they have standard            18 standard deviation was .5 percent.
19 deviations.                                                19         Do you see that?
20        Do you see that?                                    20 A. Yes.
21 A. Yes.                                                    21 Q. Okay. And that is approximately, I
22 Q. And what is a standard deviation?                       22 guess, a 72 percent -- 71 percent standard
23 A. The rate of error.                                      23 deviation, right?
24 Q. Okay. And what is the cause of a                        24 A. It's not how it's calculated.
25 standard deviation in a study like this?                   25 Q. Okay. Are those larger standard
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1 deviations than the IV administration as a                 1 correct?
2 percent?                                                   2     A. Yes.
3     A. No. Look at feces under the IV                      3     Q. Okay. And there's such a thing in
4 administration, in Table 3 it's 1.3 plus or minus          4 toxicokinetics known as lateral diffusion, right?
5 .5.                                                        5     A. Yes.
6     Q. Okay. And so you have no concern about              6     Q. And what happens in lateral diffusion
7 the standard deviations here being .6, for                 7 is that the compound on the grid, some portion of
8 instance, for the urine in dose D with a .8 as the         8 it might run off the grid to other parts of the
9 average?                                                   9 belly, right?
10 A. That's giving a range in dose D in                     10 A. Not if the proper amount of material is
11 urine of .2 to 1.4.                                       11 used. In this case, I think it was 7 microliter
12 Q. Okay. And you don't have a concern                     12 per centimeter squared. It's not enough to run
13 about that wide of a standard deviation there?            13 off. 7 microliter is -- I've used in trace radio
14 A. Well, it has to be compared to the                     14 labeling 1 microliter up to 10 microliter syringes
15 feces, which is 3.6. So that's a range of two to          15 and that's a very tiny amount of material. When
16 5.2. And so the -- when comparing the urine to            16 put on a pad, it's not going to run anywhere.
17 the feces, there's clearly a wide differential.           17 Q. Okay. So they didn't use 7 microliter.
18 The difference between them is very -- very wide.         18 You're thinking of the in vitro study. They used
19 Q. Okay. Now, another thing that they did                 19 500 micrograms per 20 centimeters squared. Do you
20 was they measured the disposition in excretion of         20 recall that?
21 glyphosate over a course of seven days, right?            21 A. 500 microgram. That's a quantity.
22 A. Yes.                                                   22 It's not a volume of liquid.
23 Q. Okay. And if we go back to page 726 --                 23 Q. So for the volume of liquid for this
24 or excuse me. Let's start at 727.                         24 study they used the 1/29 dilution. That's here on
25        There's a diagram of how the monkeys               25 page 726. And that's 40 microliters per
                                                       395                                                           397
1 were positioned in the chairs when they applied            1 20 centimeters square.
2 the dermal dose, right?                                    2     A. Right. And that's a large area. 40
3     A. Yes.                                                3 micro liters is basically two drops. It's not
4     Q. Okay. And what they did is they put                 4 enough material that it's going to spread all over
5 the glyphosate formulation on a grid pattern on            5 the chest at the end of it.
6 their bellies, right?                                      6     Q. So you've -- so you've been able to
7     A. Yes.                                                7 exclude the possibility there was lateral
8     Q. And then they had a plate underneath                8 diffusion from the grids in the study?
9 it, right?                                                 9     A. It would be reported if that happened.
10 A. Yes.                                                   10 Q. Well --
11 Q. Okay. And then they left them in                       11 A. It would be reported as a deviation.
12 chairs for 12 hours, right?                               12 Q. How would they have collected that if
13 A. Right.                                                 13 they only did washing of the grids?
14 Q. And then after those 12 hours, they                    14 A. They would have observed it when
15 washed them, correct?                                     15 they -- when they set up the experiment.
16 A. Yes.                                                   16 Q. How could they observe it? It's a
17 Q. And then after they washed them they                   17 clear liquid, sir. How could you observe that?
18 put them in what are known as metabolic cages,            18 A. Visible liquid rather than the material
19 right?                                                    19 being underneath the patch, the material would
20 A. Yes.                                                   20 have spread and diffused downward or whichever way
21 Q. And they left them in there for the                    21 gravity is pointing, which it should be downward
22 remainder of the six and a half days, right?              22 in this case. It would have been observed and
23 A. Yes.                                                   23 reported.
24 Q. Okay. And first of all, is there --                    24 Q. I guess I'm confused by the patch. I
25 when they wash the monkeys, they wash the grids,          25 don't see any discussion that they used a patch
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1 here that they applied glyphosate to a patch and           1 That's your testimony?
2 then put it on the body?                                   2      A. Not systemically.
3     A. No. It's put on the body and then                   3      Q. Okay.
4 covered.                                                   4      A. Some of it was bound in the reservoir
5     Q. Where does it say it's occluded, sir?               5 as a reservoir within the skin --
6     A. These tests are always occluded.                    6      Q. Okay.
7 They're not open for the animal to touch or --             7      A. -- and unavailable during that short
8     Q. Where does it say in the design -- they             8  period  of time to be absorbed, but was absorbed as
9 were in chairs where they were strapped down,              9 time went on.
10 correct?                                                  10 Q. Okay. So if it's bound in the
11 A. Right.                                                 11 reservoir in the skin, that means that if I wash
12 Q. So you wouldn't have a concern that the                12 that reservoir at some point I might be able to
13 animal would touch it. So where does it say -- at         13 get some more out, right?
14 least in those 12 hours. So where does it say             14 A. No. This already shows that it washed,
15 that they occluded it?                                    15 for example, the soap and water in the first
16 A. It may not have been occluded with the                 16 column, 85 -- 85.1 percent of the applied dose
17 strapping. That's true. But nonetheless, in               17 then 3.9 by third wash only .5 percent of the
18 these types of studies the materials put on in a          18 wash, it's essentially gone. You're not going to
19 small enough quantity per area that it just               19 wash any more off.
20 doesn't run down onto the floor.                          20 Q. Okay. If there's glyphosate in the
21 Q. Okay. Now, are you going to testify to                 21 reservoir in the monkeys' skin and then they're
22 the jury that washing glyphosate with water or            22 put in metabolic cages for six and a half days, is
23 soap and water is a hundred percent effective?            23 it potentially possible that the monkeys could
24 A. Well, they used Ivory soap, which is                   24 touch their skin where the glyphosate is in the
25 general. It doesn't damage the skin.                      25 reservoir and put it in their mouth, the
                                                       399                                                           401
1     Q. Different question, sir. Are you going              1 glyphosate?
2 to tell the jury that washing with Ivory soap and          2      A. No, because 90 -- let's see. 85 to 3.9
3 water or water alone is a hundred percent                  3 to .5, it's essentially gone. It's already been
4 effective in getting glyphosate off the skin?              4 washed off.
5     A. That is the standard methodology for                5      Q. Okay. So you believe that there was no
6  determining    how much is unabsorbed versus how much     6  glyphosate   left on the monkeys' skin after the
7 is bound within the skin versus how much measures          7 washing?
8 as absorbed in the animal.                                 8      A. Mathematically not enough to account
9     Q. All right. So let's turn to Table 6 on              9 for what was found in the feces, of course not.
10 page 730, and they have a discussion of skin              10 Q. Okay.
11 decontamination of glyphosate single site versus          11 A. If you look at what was found in the
12 skin grid application.                                    12 feces that's greater than .5 percent or --
13        Do you see that?                                   13 Q. It's actually not, sir. The feces is
14 A. Yes.                                                   14 actually, I believe, 3.6 percent?
15 Q. Okay. And what they did is they did                    15 A. Right.
16 three washes of the glyphosate with soap and water        16 Q. Which they were able to wash off about
17 versus water alone, right?                                17 80 percent here. So my question is, how were you
18 A. Right.                                                 18 able to rule out that the monkeys touched their
19 Q. And did they recover a hundred percent                 19 belly in the metabolic cages and put their hands
20 of the glyphosate doing that?                             20 in their mouth?
21 A. Well, no, because some of it is                        21 A. Because the triple washing. It was
22 absorbed.                                                 22 down to .5 percent .6 percent .8 percent and
23 Q. So you -- you believe that in the 12                   23 .5 percent.
24 hours the monkeys sat there, 30 -- or 28.3 percent        24 Q. So you read that to state that there
25 of glyphosate was absorbed in the grid animals?           25 was only .5 percent glyphosate left in the skin in
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1 the single site after three -- three washes?                1     A. No, no, that's Monsanto's too. I have
2 That's how you read that rather than --                     2  documented     that, not available for
3     A. Available to be washed off with soap.                3 bioavailability, but yet out of the same mouth
4 And monkeys aren't scrubbing with soap. If they             4 comes, oh, it is available for the monkey to touch
5 touch it, it's incidental touching. It's not                5 and -- I mean, can't have it both ways. If it's
6 scrubbing with soap.                                        6 bound in the reservoir and washed three times with
7     Q. Right. That's my point, sir. How can                 7 Ivory soap, there's nothing left for the monkey to
8  you  be sure that when the monkeys got out of the          8 touch and put in the mouth.
9 chairs and into the metabolic cage they did not             9     Q. Okay. I understand, sir. So let's
10 touch their belly and transfer the glyphosate to           10 look at Table 5, and then we'll take a break.
11 their mouth?                                               11 Table 5, after 24 hours, sir, how much glyphosate
12 A. They most likely did touch their                        12 was in the blood in dose D after 24 hours?
13 bellies but there's not enough left there to be of         13 A. (Reviewing document.)
14 any significance because it's already been washed          14        For dose D?
15 off with soap, with Ivory soap.                            15 Q. Yes, sir.
16 Q. According to the grid --                                16 A. .0006 --
17 A. Three different washings.                               17 Q. Okay.
18 Q. According to the grid the total amount                  18 A. -- microgram equivalents per milliliter
19 washed off after three washes was 71.7 percent,            19 of carbon 14 glyphosate.
20 right?                                                     20 Q. Okay. And so after 24 hours of
21 A. Yeah. The rest is either combined,                      21 exposure, approximately .0001 percent of the
22 absorbed systemically, or bound as a reservoir in          22 glyphosate absorbed -- or the glyphosate applied
23 the skin.                                                  23 to the monkeys' bellies was detected in the blood,
24 Q. Okay. So the amount excreted after                      24 correct?
25 seven days in dose D was 4.4 percent, right?               25 A. No. That's not a percentage. That's a
                                                        403                                                          405
1 Strike that.                                                1 measurement in microgram equivalents per
2     A. Yes. 4.4, plus or minus 2.2.                         2 milliliter.
3     Q. Okay.                                                3     Q. Right. But if I'm correct, sir, there
4     A. No, wait a minute. That may not be                   4 was 500 micrograms applied to the monkeys'
5 right. That's urine and feces.                              5 bellies, right? Table 4.
6     Q. Right. That's what I was saying,                     6     A. Well, dose D was 500 microgram per
7 combined.                                                   7 20 centimeters squared.
8     A. Okay.                                                8     Q. Right. So 500 micrograms total, right?
9     Q. Okay. And so 71.7 plus 4.4 only gets                 9     A. Well, I don't know if that unit is in
10 us to about 75 percent, right? 76?                         10 microgram equivalents per mL of C14.
11 A. Well, 77 plus .1 -- 77.1 and 4.4 --                     11 Q. That's what it says -- that's what it
12 Q. Okay.                                                   12 says at the top of Table 5, right?
13 A. -- is 81.5.                                             13 A. Yeah, but that's not what it says in
14 Q. Okay. And so there was enough                           14 method. Looks like there were two doses of C14
15 glyphosate left in the skin for the monkeys to             15 glyphosate with a tenfold difference in amount.
16 touch their bellies and put it in their mouth to           16 Dose C at 5,400 microgram and 200 centimeter
17 come up with the figures we've seen?                       17 per -- 200 centimeter square and dose D at 500
18 A. Well, no. They're not going to --                       18 microgram -- see those are units of glyphosate,
19 they're not eating their epidermis off their body.         19 not necessarily the glyphosate C14 microgram
20 It's bound in the epidermis, as per Dr. Maibach's          20 equivalent per mL.
21 own words. It's a reservoir within. It's bound             21 Q. That's a good -- that's a good point.
22 within -- and Monsanto's argument is it's not              22 This was a 1/29 solution, right?
23 available for availability.                                23 A. Yes.
24 Q. That's Dr. Maibach's argument, not                      24 Q. So in this 1/29 solution there would be
25 Monsanto.                                                  25 approximately 20 micrograms of glyphosate, right?
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1     A. Let's see. 500 divided by -- I'd have                1 dose D excreted via the feces as the urine, right?
2  to calculate that to be exact.                             2      A. Yeah, and I can prove that very simply.
3     Q. Okay. Well, 1/10 would be 50?                        3 This whole idea of hand to abdomen to mouth and
4     A. Right.                                               4 then assuming that would be a fecal elimination
5     Q. 1/20 would be 25 so 1/30 would be                    5 makes no sense. Whether it is taken in orally or
6 approximately 17, and this is a little more than            6 through the skin, it's still going to pass through
7 that. So how about 18 micrograms? Can you agree             7 the liver and be metabolized.
8 with that?                                                  8      Q. Well, we know from the NTP studies and
9     A. I think that's approximate, yeah.                    9 some other studies that orally absorbed glyphosate
10 Q. Okay. So in this 1/29 solution there's                  10 is excreted mainly via the feces with some urinal
11 18 micrograms of glyphosate. And after 24 hours            11 excretion as well, right?
12 they detected approximately a little bit less than         12 A. Right. And that's -- that's very
13 .001 percent of that glyphosate in the blood,              13 important, and that's proof of what I'm trying to
14 right?                                                     14 explain, that when one injects an IV bolus and
15 A. I don't see how that's derived because                  15 gives a full day's worth of absorption in a few
16 Table 5 is giving per mL. We don't know how many           16 seconds in an IV bolus, the liver cannot process
17 mL of blood are in the animal.                             17 it at that rate. The liver enzyme becomes
18 Q. Let me ask you this: Is the                             18 saturated, and we see spillover into the urine.
19 .0006 micrograms per mL near background levels?            19 Q. What study shows that the liver enzyme
20 Because that's what the authors report, that the           20 becomes saturated from glyphosate exposure?
21 amount in the blood after topical administration           21 A. The Maibach study.
22 was near background level.                                 22 Q. The Maibach study. Where does the
23        Do you agree with that?                             23 Maibach study measure enzymes, sir?
24 A. I'm not finding that.                                   24 A. They didn't measure enzymes.
25 Q. Go to page 729. It states, "Table 5                     25 Q. Okay.
                                                        407                                                           409
1 gives the glyphosate C14 equivalence blood                  1      A. But it shows that the fecal route is
2 concentrations following the two IV and two                 2 predominant in -- in dose D, two animals in dose
3 topically administered doses. C14 blood levels              3 D.
4 were detectable after IV administration but were            4      Q. So that's the Wester study you're
5 near or at background level following topical               5 talking about, not the Maibach study.
6 administration."                                            6      A. Well, I think the Maibach study
7         Do you see that, sir?                               7 actually did too.
8     A. Okay.                                                8      Q. The Maibach study didn't measure feces,
9     Q. Do you agree with that statement?                    9 correct?
10 A. Yeah, I see no reason to disagree,                      10 A. Let me see. Okay. No. I'm speaking
11 although it doesn't change my opinion because              11 of the Wester study.
12 that's systemic blood circulation and what we have         12 Q. Okay.
13 is during that first 12 hours is fecal elimination         13 A. That the urine becomes a more
14 through the liver. So the blood has essentially            14 significant route -- or I mean feces becomes the
15 been cleared. And then there is a steady state of          15 more significant route when dermally applied
16 a small amount of absorption from the materials            16 versus IV bolus.
17 deposited in the skin over longer period of time.          17 Q. Okay. So my question is, where did
18 Q. How have you been able to rule out --                   18 they measure the saturation of the liver enzymes
19 well, strike that.                                         19 in the Wester study, sir?
20        It's your opinion that the                          20 A. The liver enzymes weren't measured.
21 biomonitoring studies on glyphosate should be              21 Q. Okay. And so where have you seen any
22 accounting for fecal exposure, right?                      22 study in the peer-reviewed literature or elsewhere
23 A. Absolutely.                                             23 that shows that liver enzymes become saturated
24 Q. Okay. And the fecal exposure listed in                  24 from glyphosate exposure, specifically the
25 this article indicate a -- four times as much in           25 mechanism and not the results of this Wester
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1 study?                                                      1 until I hear the answer. I might have one
2     A. General dermal absorption studies                    2 follow-up.
3 published in the literature where IV boluses have           3         MR. SELDOMRIDGE: I understand.
4 been used versus dermal, slow, steady-state dermal          4         MR. KALAS: But yeah.
5 absorption that at the higher level drug level as           5     A. (Reviewing document.)
6 in dose D, the -- you know, the likelihood of --            6         At a higher fecal recovery in the
7 when intravenous solution of a high dose of drug            7 Wester study.
8 is used, the likelihood of liver enzyme saturation          8         BY MR. KALAS:
9 increases, and that's been shown in many studies            9     Q. And IARC has said glyphosate is not
10 for different drugs.                                       10 readily metabolized, correct?
11 Q. Which study on glyphosate, sir?                         11 A. Upon IV push, that's correct.
12 A. Liver enzyme studies were not conducted                 12 Q. That -- do you recall that they did not
13 by Monsanto on glyphosate.                                 13 limit their opinion to IV push? They just said
14 Q. Has it been conducted in the                            14 generally glyphosate is not readily metabolized?
15 peer-reviewed literature by anybody?                       15 A. That's how the studies have been run,
16 A. No.                                                     16 yeah.
17 Q. Okay. And my other question is,                         17 Q. Okay. And the EPA said glyphosate is
18 glyphosate is hydrophilic, right?                          18 not readily metabolized, right? Strike that.
19 A. Yes.                                                    19        Can you point me to a metabolite of
20 Q. And hydrophilic compounds are expected                  20 dermal  absorption of glyphosate that has been
21 not to be readily absorbed by the skin, right?             21 recorded at a level of higher than 1 percent
22 A. Yes. I've already explained that.                       22 anywhere?
23 Q. Okay. And hydrophilic compounds are                     23 A. No, but based on the Wester study and
24 expected to be excreted via the kidney, right, and         24 even Monsanto's own internal document from
25 the urine?                                                 25                       who stated, "This approach by
                                                        411                                                            413
1     A. Not necessarily. Alcohol is extremely                1 Spain sets a precedent and contradicts the fact we
2 hydrophilic, more so than glyphosate, and alcohol           2 always claimed to fully understand the glyphosate
3 is metabolized in the liver, as we all know by              3 pharmacokinetics. This is dealing with Monsanto's
4 alcohol dehydrogenase.                                      4 discovering that in fact at one point it was
5     Q. The glyphosate's not metabolized,                    5 discovered as a possible new metabolite.
6  right? Or is very little metabolism to AMPA?               6     Q. Last question, sir. Did the statement
7     A. Glyphosate is metabolized on a dermally              7 that you read from                     just there
8 applied dose.                                               8 discuss the metabolite about the pharmacokinetics?
9     Q. What is it metabolized to, sir?                      9 Was there any discussion of metabolite in that
10 A. I believe a hydroxyamino                                10 statement?
11 organophosphate. I think I have the -- that in my          11 A. No.
12 report, the metabolic study.                               12        MR. KALAS: Okay. Let's break for
13 Q. Studies by -- studies by NTP and others                 13 lunch.
14 have found that glyphosate is metabolized                  14        THE VIDEOGRAPHER: The time is 12:43.
15 approximately 1 percent to a compound called AMPA,         15 We are off the record.
16 correct?                                                   16        (Luncheon recess from 12:43 p.m. to
17 A. Yeah the AMPA. But the thing is that                    17 1:47 p.m.)
18 that is, as I recall, based upon intravenously             18        THE VIDEOGRAPHER: The time is 1:47.
19 administered glyphosate.                                   19 We are on the record.
20 Q. Okay. What study is out there that                      20        (Exhibit Number 29, Revised Glyphosate
21 shows that glyphosate is metabolized in a greater          21 issue Paper, Evaluation of Carcinogenic Potential,
22 amount to AMPA via dermal absorption?                      22 EPA’s Office of Pesticide Programs, December 12,
23        MR. SELDOMRIDGE: Counsel, after this                23 2017, DP Barcode D444689, was marked for
24 question, do you want to break for lunch?                  24 identification.)
25        MR. KALAS: I don't want to commit                   25        ///
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1         BY MR. KALAS:                                       1     Q. And these are all AMES tests that were
2     Q.   Dr. Sawyer, I marked as Exhibit 29 a               2  submitted  on glyphosate, right?
3 document called revised glyphosate issue paper              3     A. Yes.
4 evaluation of carcinogenic potential. You've seen           4     Q. Okay. And this carries through to 105.
5 this before, right?                                         5 And did you go through this to make sure you had
6     A. Yes.                                                 6 all of the AMES tests submitted on glyphosate?
7     Q. Okay. Now, last time we got together                 7     A. No. I don't feel I need to review all
8  in August, I asked you if you had gone and made            8  of the AMES studies. That's a basic bio screen
9 sure you had all the studies that Monsanto                  9 technique and they're already summarized by EPA.
10 submitted to EPA in support of its registration of         10 I didn't have any special interest to obtain all
11 glyphosate.                                                11 the original studies on those.
12        Do you remember me asking you about                 12 Q. Okay. So you agree with EPA's
13 that?                                                      13 conclusion that glyphosate was negative in the
14 A. Vaguely.                                                14 presence and absence of metabolic activation in
15 Q. Okay. Since we got together in August,                  15 the AMES test?
16 have you gone back to make sure you have all of            16 A. Yes.
17 the studies Monsanto submitted to EPA for its              17 Q. Okay. If we go, then, to page 107, did
18 registration of glyphosate?                                18 you look to see if you had all of the studies
19 A. No.                                                     19 cited here in Table 5.2 for in vitro mammalian
20 Q. Okay. So, for instance, when we talked                  20 gene mutation assays for glyphosate?
21 about the Myhr study on surfactants, you haven't           21 A. No. I'm already familiar with the
22 gone back to see if you actually had the Myhr              22 study evidence on this in terms of the in vitro
23 study on surfactants, right? M-Y-H-R.                      23 analyses.
24 A. No, I do not.                                           24 Q. So you didn't need to look at the
25 Q. Okay. And how about the Mecchi study,                   25 Jensen study to reach your conclusion about
                                                        415                                                           417
1 M-E-C-C-H-I? Did you go back and see if you have            1 in vitro mammalian gene mutation assays?
2 that study?                                                 2     A. No.
3     A. I do not.                                            3     Q. You didn't need to look at the Li study
4     Q. How about the Lawlor study,                          4 to reach your conclusion? L-I.
5 L-A-W-L-O-R? Did you check to see if you have               5     A. I don't see that on here.
6 that study?                                                 6     Q. It's the third row, sir.
7     A. I do not have it.                                    7     A. Oh, yeah. There it is. No. My
8     Q. Okay. When you reviewed this document,               8 understanding is that the gene mutation studies
9 Exhibit 29, did you look at it to see if EPA had            9 in vitro are largely negative.
10 some studies that you had not been sent by the             10 Q. Okay. So you agree with EPA that the
11 Miller Firm?                                               11 gene mutation studies for glyphosate are negative?
12 A. Yes, as majority of the studies I have,                 12 A. On a screening basis using this
13 I've researched myself. I didn't rely on the               13 technique, yes.
14 Miller Firm to provide me the scientific studies.          14 Q. Okay. How about Table 5.3 on page 111
15 Q. Well, how about the studies that were                   15 through -- it's just 111 is 5.3. Did you go and
16 submitted by Monsanto to EPA on glyphosate? A lot          16 look to see if you had all the in vitro tests for
17 of those are not in the peer-reviewed literature.          17 chromosome aberrations in mammalian cells?
18 Did you look at this document to see what the              18 A. No. I reviewed this document
19 Miller Firm might have as far as those go?                 19 previously and relied on the summation of these
20 A. No. I'm not sure how I'd even be able                   20 results that the results are largely negative.
21 to determine that.                                         21 Q. Okay. So you agree with EPA that
22 Q. If you could turn to page 101, sir.                     22 glyphosate is negative in the in vitro chromosomal
23 And this is Table 5.1.                                     23 aberration test for mammalian cells?
24        Do you see that?                                    24 A. Can you repeat that?
25 A. Yes.                                                    25 Q. You agree with EPA that glyphosate is
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                                                       418                                                          420
1 negative in the in vitro chromosomal aberration            1     Q. You have one positive study and five
2 test for mammalian cells?                                  2  negative  studies, right?
3     A. I would say largely, yes.                           3     A. Right, and as you know, four negative
4     Q. Turn to page 112 and carrying through               4 x-rays of a fracture and one positive x-ray that
5 113, did you go to Table 5.4 to see if you had all         5 caught the fracture means there's a fracture.
6 of the in vitro tests for micronuclei induction in         6     Q. Okay. Motion --
7 mammalian cells?                                           7     A. Just because four out of five are
8     A. No. Again, I just relied on the EPA                 8  negative   doesn't absolutely confirm negative.
9 summation of these studies.                                9          MR. KALAS: All right. Motion to
10 Q. Let me ask you this: As far as                         10 strike everything after "right."
11 genotoxicity tests go as a whole, did you rely on         11         BY MR. KALAS:
12 EPA's evaluation of those tests rather than               12 Q. My question was just simple arithmetic.
13 looking at the individual tests yourself?                 13 You have five negative studies and one you recall
14 A. With respect to the in vitro tests,                    14 that is positive for in vivo chromosomal
15 yes.                                                      15 aberrations, correct?
16 Q. So --                                                  16 A. I didn't understand the question.
17 A. Not with respect to the in vivo or                     17 Q. Just a matter of simple arithmetic.
18 human evidence.                                           18 You have five negative studies for chromosomal
19 Q. Okay. So let's go to Table 5.5, then,                  19 aberrations in an in vivo model, and one that you
20 which is 117. This is in vivo tests -- vivo --            20 recall as positive in mammals, right?
21 for chromosomal aberrations in mammals with               21 A. Yes.
22 glyphosate. Did you look at this table to see if          22         MR. SELDOMRIDGE: Objection. That's
23 you had all of these tests?                               23 not arithmetic.
24 A. No, but I understand that really the                   24         BY MR. KALAS:
25 vast majority of the in vivo animal tests, rodent         25 Q. You're not going to tell the jury that
                                                       419                                                          421
1 tests, are negative.                                       1 you disagree with EPA's conclusion that the in
2     Q. Okay. So you agree with EPA that                    2 vivo mammalian bone marrow chromosomal assays
3 glyphosate is negative in an in vivo chromosomal           3 conducted with glyphosate technical for regulatory
4 aberration design for -- for genotoxicity?                 4 purposes were all negative, right?
5     A. Largely. Not -- not across the board.               5     A. Correct.
6  There   are some marginal and positive tests.             6     Q. Okay. Turning to page 118 through 121,
7     Q. Using your weight of the evidence                   7 did you look at the in vivo tests for micronuclei
8 evaluation are you going to tell the jury that             8 induction listed here in Table 5.6 to see if you
9 glyphosate causes chromosomal aberrations in an in         9 had all of these tests when reaching your
10 vivo model in mammals?                                    10 opinions?
11 A. No. In humans, yes. In animals, it's                   11 A. No. I used the summary from EPA at
12 equivocal.                                                12 face value.
13 Q. So EPA in Table 5.5, if you look at                    13 Q. Okay. So you agree with EPA that
14 that, and the results of the in vivo chromosomal          14 glyphosate technical administered via the oral
15 aberration test report negative, negative,                15 route in nine micronuclei assays, that eight of
16 negative, negative, negative for those tests,             16 those nine were negative for micronuclei
17 correct?                                                  17 induction, right?
18 A. Yes, but I have a newer study I think                  18 A. Yes.
19 that's positive.                                          19 Q. And you don't disagree with EPA's
20 Q. Which study is that? Wozniak, sir?                     20 conclusion, based on their weight of evidence
21 A. I'm sorry?                                             21 evaluation, that the genotoxicity tests for
22 Q. Is that study Wozniak?                                 22 glyphosate were negative, correct?
23 A. I think so. I have to look.                            23 A. The majority of the assays were
24 Q. Okay. So let's assume it is Wozniak.                   24 negative, is what I would conclude.
25 A. Okay.                                                  25 Q. Okay. So then if we go to pages 203
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                                                        422                                                     424
1 through 215, EPA also reported on genotoxicity              1 to tell the jury is Mr. Hall's occupational dose
2 assays on formulated products.                              2 to glyphosate, right?
3         Do you recall reviewing that?                       3     A. I may break it down further by going
4     A. I do.                                                4 to -- start with MONGLY06403311 as Annex 2 of the
5     Q. Okay. And have you reviewed all of the               5 2A exposure results for handheld equipment
6 AMES tests discussed by EPA from pages 203 to 208?          6 hydraulic nozzle, as prepared in the operator
7     A. No.                                                  7 exposure risk assessment for MON 78273 under UK
8     Q. Okay. And you're going to defer to                   8 use conditions.
9 EPA, then, on their description of the results in           9     Q. Well, let me make sure I understand
10 those tests as negative, right?                            10 what you're going to -- well, let me ask this.
11 A. Yeah. I think that's true for these                     11 Let me ask a foundational question. Are you going
12 in vitro AMES tests.                                       12 to present to the jury a presumed occupational
13 Q. Okay. And then for the rest of these                    13 dose for Mr. Hall?
14 tests, F.2, F.3, F.4, F.5, carrying through to             14 A. Yes.
15 215, did you review all of the tests submitted to          15 Q. Okay. And are you going to present the
16 EPA by Monsanto for genotoxic damage using                 16 4.689 number discussed here on page 17, 4.689 mg
17 formulated products that are discussed here?               17 per kg per day, or are you going to present the
18 A. I've reviewed the summary. That's all.                  18 1.445 mg per kg per day number that's on
19 Q. Okay.                                                   19 MONGLY06403311 and is also repeated in Table 7 in
20 A. And, again, my opinion is that the                      20 the top right-hand column?
21 studies were largely negative but not completely.          21 A. Well, I'm going to factor the 1.445 and
22 Q. Okay. So you agree, then, with EPA and                  22 the 4.689 milligram per kilogram per day values
23 with the EPA SAP on glyphosate that both                   23 based upon his body weight, which was obviously
24 glyphosate and formulated glyphosate-based                 24 higher than 60 kilograms. And I'm going to
25 herbicides are negative for genotoxicity based on          25 explain that his dose was certainly at least 1.445
                                                        423                                                     425
1 the studies they've reviewed?                               1 based on 3 percent dermal absorption, but more
2     A. Largely negative.                                    2 likely higher, possibly as high as 4.689 to
3     Q. Okay. Now, if we can go back to your                 3 10 percent dermal absorption and also going to
4 toxicological notes, sir, you used something                4 provide the actual raw data where this comes from
5 called the POEM model to calculate a dose for               5 in Annex 2 from the document I just referenced at
6 Mr. Hall, right?                                            6 64 -- 06403311 document for the legs, trunk,
7     A. Yes.                                                 7 hands, hundred percent penetration of glove value,
8     Q. Okay. And the dose you calculated is                 8 etc.
9 described, I believe, on page 17 of your                    9     Q. Okay. So let's break that down. So if
10 toxicological notes, right?                                10 I understand you correctly, you're going to
11 A. Starting on page 16.                                    11 present both values to the jury, the 1.445 and the
12 Q. Okay. And you state, "Mr. Hall" -- on                   12 4.689, right?
13 page 16, "Mr. Hall reasonably qualifies as an              13 A. Yes. If I may explain it, at least the
14 exposed glyphosate spray operator using a                  14 1.455 no less, but possibly as high as 10 percent
15 hydraulic nozzle (Table 7 below) with additional           15 based upon the studies I've referenced in my notes
16 acute soaking exposures. His dosage can be" --             16 demonstrating increased dermal absorption through
17 "also be approximated from Tables 6 and 7;                 17 dermal uptake versus IV bolus analyses in
18 however, Mr. Hall's high level acute exposures are         18 primates.
19 not accounted for in these tables," right?                 19 Q. Okay. And the dermal uptake analysis,
20 A. Yes.                                                    20 that actually does not measure 10 percent
21 Q. Okay. And so when you go to 6 and 7,                    21 glyphosate recovered in any of those studies,
22 and specifically 7, you've highlighted Table 7, no         22 right? The highest it goes is 4.4 percent?
23 gloves, handheld outdoor hydraulic nozzles, right?         23 A. Up to 22 percent if you follow the
24 A. Yes.                                                    24 rules.
25 Q. And that -- that is what you are going                  25 Q. Okay.
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                                                        426                                                        428
1     A. Apparently Monsanto can't follow rules,              1 absorption is a floor number.
2  even  though they are designated by international          2     Q. Okay. And so -- then you stated, I
3 cooperative agency that the unaccounted-for                 3 believe, that you wouldn't use the 60-kilogram
4 portion remaining in the tissue has to be                   4 weight.
5 considered part of the absorption.                          5
6     Q. You admit that there are scientists not              6     A. Yes.
7 affiliated with Monsanto in the Nielsen 2007                7     Q. And that would take this down to
8 study, in the Maibach study, in the Wester study,           8  approximately  .75 mg per kg per day, right?
9 who have all opined that the amount not absorbed            9     A. Yes.
10 that remains in the epidermis is not available for         10 Q. Now, you've argued that gloves provide
11 absorption?                                                11 no protection for glyphosate absorption, right?
12 A. I guess they would be struck under                      12       MR. SELDOMRIDGE: Objection.
13 Daubert for not following methodology.                     13 Misstates.
14 Q. Those --                                                14 A. No, I didn't argue anything. I have
15 A. The methodology is clear and                            15 here with me a pair of jersey gloves. When these
16 unequivocal.                                               16 become wet, they offer zero protection. In fact
17 Q. Those are peer-reviewed studies that                    17 they make matters worse because it keeps the hand
18 they stated that in, correct?                              18 in contact with wet glyphosate throughout the
19 A. Yes, but the methodology for                            19 entire workday.
20 calculating dermal absorption is clear.                    20       BY MR. KALAS:
21 Q. Okay. And you have never done a                         21 Q. Have you gone back and looked at the
22 percutaneous dermal absorption study yourself,             22 Wester '96 study since we discussed it in August?
23 right?                                                     23 A. We -- yeah, today. I looked at it
24 A. No. I have been trained in it, but I                    24 today and I looked at it yesterday as well and
25 have not conducted it myself.                              25 about ten days prior to that. Yes.
                                                        427                                                        429
1     Q. And Dr. Maibach has done hundreds,                   1     Q. Okay. So you have looked at that study
2 right?                                                      2 now?
3     A. That's right.                                        3     A. Yes.
4     Q. Dr. Nielsen has done dozens, right?                  4     Q. Okay. And what the authors in Wester
5     A. I can't speak on that, but probably.                 5 '96 found was that when they put cotton between
6     Q. Dr. Wester has done dozens, right?                   6 their -- their receptor fluid and the glyphosate
7     A. Yes.                                                 7 that was administered, only about half of the
8     Q. Now, you believe that the 3 percent                  8 glyphosate that was administered to the cotton
9 number represented here in Table 7 is what you              9 actually got through, right?
10 would describe as the dose that Mr. Hall -- at             10 A. Yes.
11 least it was your floor for his dose, right?               11 Q. Okay. And so the gloves or -- those
12 A. That's correct, yeah.                                   12 are cotton gloves, those jersey gloves, right?
13 Q. Okay.                                                   13 A. Yes.
14 A. As I stated on page 16, there was mouth                 14 Q. And so the cotton in the Wester '96
15 exposure. He had numerous O-ring blowouts of his           15 study provided about 50 percent protection from
16 sill cylindrical pump, which he was sprayed with.          16 glyphosate absorption, right?
17 The conditions of his exposures were certainly             17 A. In that experimental design. However,
18 more severe than that held in the spray operator           18 that's not real world wearing a wet glove. The
19 exposure studies.                                          19 hand is wet with glyphosate.
20 Q. Okay. Now, you haven't quantified any                   20 Q. Okay. Now, sir, another thing they
21 of those other exposures, right?                           21 looked at in the Wester '96 study and in the
22 A. No, no.                                                 22 Nielsen 2009 study is something called flux,
23 Q. Okay.                                                   23 right?
24 A. That's true. And that's why I'm                         24 A. Yes.
25 stating just that the 3 percent value dermal               25 Q. What is flux?
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                                                       430                                                      432
1     A. Flux is the rate at which it's                      1 soaked cotton glove.
2  absorbed,   not the percent of absorption, but            2     Q. I'm not sure if you answered the
3 microgram per kilogram per hour.                           3 question. Maybe you did. Have you reviewed that
4     Q. And is flux a standard way to look at               4 BAUA document, to your knowledge?
5 dermal absorption in dermal absorption studies?            5     A. I'm not sure I have the German document
6     A. Only for the rate, not for the actual               6 filed. I'm not sure.
7 percent.                                                   7     Q. Okay. And you don't -- and you can't
8     Q. Right. But the percent represents                   8  recall, sitting here today, whether they actually
9 snapshot at the end of the study, right?                   9 did look at humans in either passive dosimetry or
10 A. Yes. And that's significant for                        10 biomonitoring for absorption through cotton
11 calculating dose.                                         11 gloves?
12 Q. Right. And so if somebody -- if we                     12 A. Not wet cotton gloves, no. That has
13 have a study that looks at 48 hours of absorption         13 not been done.
14 of a substance but we know somebody was only              14 Q. How do you know, if you can't recall if
15 exposed to that substance for eight hours, we             15 you've seen it?
16 might want to look at the flux to calculate a             16 A. Because I reviewed the literature and
17 dose, right?                                              17 I've not come across any study ever performed with
18 A. No, not in a case where a person is                    18 a human wearing a wet glyphosate-soaked glove.
19 exposed five days in a row.                               19 Q. Well, sir, we've -- you testified
20 Q. Well, sir, you agree that you can't                    20 earlier that you reviewed the literature on
21 cite to me another author or another scientist            21 cigarette smoking too, right?
22 that you're aware of that claims that the                 22 A. Yes, I have, and I've kept up on it for
23 glyphosate that is retained in the epidermis is           23 many years as well.
24 available for absorption, right?                          24 Q. And we saw three studies today that you
25 A. Nor can I show you a study that shows                  25 hadn't found, right?
                                                       431                                                      433
1 it isn't. But the methodology requires that to be          1      A. That's correct.
2 counted as absorbed.                                       2      Q. Okay. So it's possible you may have
3     Q. I didn't ask about a study. I asked                 3 missed something as well in the literature on the
4 about another scientist that agreed with you. Can          4 protective factors of gloves, right?
5 you name another scientist that agrees with you            5      A. As you know, I've referenced the
6 that the glyphosate retained in the epidermis is           6  Drexler   study on skin protection as well as the
7 available for absorption?                                  7 Oregon OSHA and the Drexler abstract. Well, it's
8     A. I have not investigated that. I rely                8 the same study, actually.
9 upon generally accepted peer-reviewed studies and,         9      Q. Okay. My --
10 more importantly, methodology that is -- that             10 A. With respect to gloves and even skin
11 dictates how such calculations are made, not              11 creams and other agents used to protect the skin,
12 rather sitting in a bar somewhere talking to              12 and cotton gloves and even OSHA does not recognize
13 another toxicologist.                                     13 a jersey glove to be protective whatsoever against
14 Q. Are you stating here that Dr. Maibach                  14 liquids.
15 does not follow OECD guidelines in evaluating             15 Q. Sir --
16 dermal absorption studies? Strike that.                   16 A. It's a completely permeable glove. The
17        Question's withdrawn.                              17 skin is still as wet as it would be with or
18        Did you also look at the data put out              18 without the glove. It makes no difference. So
19 by the German regulators that suggested cotton is         19 this is all nonsense.
20 85 percent protective of pesticide absorption?            20        MR. KALAS: Motion to strike as
21 That's the BAUA.                                          21 nonresponsive.
22 A. No. There have been no studies of a                    22        BY MR. KALAS:
23 human wearing a wet glove. These are experimental         23     Q.   Sir, my question is whether or not it's
24 in vitro analyses performed in the laboratory that        24 possible you might have missed something in the
25 are not realistic of a person wearing a wet,              25 literature on the protective factors of gloves.
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                                                       434                                                           436
1     A. Anything's possible.                                1 passive dosimetry to monitor their workers, right?
2     Q. Okay. Now, did you review the Lavy                  2 They modeled it using this.
3 study, L-A-V-Y?                                            3     A. No, they actually used patches on
4     A. What is the title?                                  4 the -- absorbent patches on the body and tested
5     Q. "Conifer Seedling Nursery Worker                    5 them.
6 Exposure to Glyphosate."                                   6     Q. Where is that in this, sir? Where is
7     A. No.                                                 7 that in this document where they say they were
8     Q. And did you -- so you didn't see in                 8 using a patch? Because if you look at 6403286,
9 that study where in passive dosimetry they found           9 they say, "The calculation of the absorbed dose is
10 that cotton clothing provided a 23 percent                10 performed in three steps. First, the total amount
11 protective factor?                                        11 of active ingredient deposited onto clothes and
12         MR. SELDOMRIDGE: Objections. Asked                12 uncovered skin is determined using surrogate
13 and answered.                                             13 exposure levels, potential exposure."
14         MR. KALAS: I didn't ask about Lavy.               14        Do you see that?
15         MR. SELDOMRIDGE: He just stated he                15        MR. SELDOMRIDGE: What page are you on,
16 didn't review it.                                         16 Counsel?
17 A. I relied, in my assessment 25 percent                  17        MR. KALAS: 286, sir.
18 exposure factor -- no. That was distribution.             18 A. Well, surrogate exposure level is
19 I'm sorry. Let's see.                                     19 referring to the analyte that they tested, not on
20         Well, the Annex 2 of the study I relied           20 the patch. In other words, instead of using
21 upon uses 25 percent for the clothing and                 21 glyphosate they could have used a harmless
22 50 percent for -- that's for the trunk and                22 chemical that was then tested at the laboratory
23 50 percent for legs.                                      23 but of the same viscosity that would have the same
24         BY MR. KALAS:                                     24 spray characteristics.
25 Q. That's the distribution, sir, correct?                 25        ///
                                                       435                                                           437
1 The penetration is 100 percent for hands in your           1          BY MR. KALAS:
2 model, correct?                                            2     Q. But then if you go to Tier 3, sir,
3     A. For hands, yes.                                     3 which is on page 3293, that is when they actually
4     Q. Okay.                                               4 report incorporating data from passive dosimetry
5     A. And --                                              5 on glyphosate users, right?
6     Q. So my question -- my question was about             6     A. I don't understand the question.
7 Lavy and whether or not you were aware that they           7     Q. Tier 1 and Tier 2 does not use data --
8 found a 23 percent protective factor for clothing.         8 Tier 1 and Tier 2 of the POEM model that's used in
9     A. For clothing?                                       9 this document does not use data on actual
10 Q. Yes, sir, for cotton clothing.                         10 glyphosate exposures, right?
11        MR. SELDOMRIDGE: Same objection.                   11 A. No. It uses a surrogate chemical.
12    A.   That could be, but I -- I relied on the           12 Q. Right. Tier 3 actually uses data from
13 Monsanto Annex 2 data.                                    13 glyphosate exposures, right?
14        BY MR. KALAS:                                      14 A. Three -- 360 gram glyphosate acid per
15 Q. Well, let me ask you this: Do you                      15 liter. Yes.
16 believe passive dosimetry studies offer                   16 Q. Okay. And if you go to page 3315 to
17 information about real world exposure to                  17 3316 -- well, strike -- strike that.
18 pesticides?                                               18         They don't present tier three data in
19 A. Yeah. That's why I used the Annex 2                    19 this -- in this study for -- in the tables that
20 study. This was done using patches on the body            20 you pointed me to in the back, right?
21 under realistic test conditions, and it tells us          21 A. No.
22 exactly what the values are.                              22 Q. Okay. And, in fact, the only data they
23 Q. That's not true, is it, sir? The model                 23 present on Tier 3 has to do with data on
24 actually is based on passive dosimetry, but the           24 applicators who were using gloves, right?
25 authors of the POEM study did not actually use            25 A. Yes, but I don't understand the point
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                                                      438                                                     440
1 of this. The data I relied upon is using actual           1         BY MR. KALAS:
2 spray and measurements of that spray on the body.         2      Q.   Okay. And the version I've marked,
3 Now, whether it's glyphosate or a similar chemical        3 sir, is listed as TNO report dated July 29th,
4 of molecular weight and velocity doesn't matter.          4 twenty -- 2003. And I know you have an earlier
5     Q. Well, how you apply might be different             5 version in your -- in your Exhibit 2, but I'm
6 depending on the chemical, right? If you have a           6 going to be asking you some questions about the
7 different application goal, you might apply it            7 one I marked. So you might want to look at that.
8 differently, correct?                                     8         First of all, this was an in vitro
9     A. Yeah. That's why I used the handheld               9 dermal absorption study carried out by a lab
10 hydraulic nozzle sprayer.                                10 called TNO, correct?
11 Q. You --                                                11 A. Yes.
12 A. That is what is used in the Hall                      12 Q. Okay. And you talked about this study
13 matter. It wasn't a tractor or sprayer -- it             13 at the Johnson case, right?
14 wasn't aerial spray. It was a handheld hydraulic         14 A. I think so.
15 nozzle and these are real values that were               15 Q. Okay. And this study is the only
16 measured using a surrogate patch analyzed by a           16 direct measurement that you can point me to that
17 laboratory so they're -- these are accurate              17 supports your 10 percent dermal absorption figure,
18 results. Now, maybe they're not the most                 18 right?
19 favorable for your client, but that's not my             19 A. Well, it does state for a different
20 concern. I'm looking for the most accurate data.         20 compounds, like MON 35012, field dilution that was
21        MR. KALAS: All right. We're almost                21 at 23.1 percent remaining in the skin and 2.3 --
22 out of tape. So we're going to take a break real         22 okay. 2.4 percent for MON 0139. 70 percent
23 quick, but it should be a short one.                     23 concentrate in 2.3 percent MON 0139, 70 percent
24        THE VIDEOGRAPHER: This marks the end              24 field dilution.
25 of Media Number 2 in the deposition of William           25 Q. I understand you're orienting yourself
                                                      439                                                     441
1 Sawyer. The time is 2:26. We are off the record.          1 to the study again because we just marked it, but
2         (Break taken from 2:26 p.m. to                    2 my question was, is this the only study you're
3 2:34 p.m.)                                                3 going to rely upon for a direct measurement of
4         THE VIDEOGRAPHER: This marks the                  4 10 percent absorption?
5 beginning of Media Number 3 in the deposition of          5     A. Under that term, "direct," yes. And
6 William Sawyer. The time is 2:34. We are on the           6  I'm  referring to page 16 to 35 on the older
7 record.                                                   7 version.
8         BY MR. KALAS:                                     8     Q. Right. So if you can look at
9      Q. Now, you're using a 10 percent dermal             9 Exhibit 30 they discuss something in here called
10 absorption figure based on lost mass balance,            10 an autoradiography -- autoradiography,
11 right?                                                   11 A-U-T-O-R-A-D-I-O-G-R-A-P-H-Y. What's an
12 A. Based on what?                                        12 autoradiography?
13 Q. Lost recovery, failed recovery of                     13 A. That's a technique very useful for
14 glyphosate?                                              14 measuring -- for example, I relied on it recently
15 A. In part.                                              15 for measuring thin sections of tissue from the
16 Q. Okay. And what -- and the other part                  16 brain and needing to know how much thorium 230 and
17 is based on the TNO study, right?                        17 thorium 232 was in that brain. And so that thin
18 A. Yes.                                                  18 section can be read using a type of scanning
19 Q. Okay. So let's look at the TNO study                  19 electron microscopy or other radiological
20 marked as Exhibit 30.                                    20 detection techniques to determine how much of a
21        (Exhibit Number 30, TNO Report: “In               21 specific radioisotope is in that slice of tissue.
22 vitro percutaneous absorption study with 14C             22 Q. And the authors of this study were
23 glyphosate using viable rat skin membranes," was         23 trying to measure how much remained in the skin,
24 marked for identification.)                              24 right?
25        ///                                               25 A. Yes.
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1     Q. Okay. And what they stated in                        1     A. Yes. However, the recovery for MON
2  paragraph  4 of Exhibit 30 is that the results of          2  35012   field dilution, I believe, was 117 percent.
3 the autoradiography show too much variation to              3     Q. It's actually reported as 73.4 percent
4 draw any conclusions, right?                                4 in paragraph 3 of Exhibit 30, sir.
5     A. Yeah. That's matching up some stuff.                 5     A. Really? 35012.
6 You're looking at paragraph 4 of page 2?                    6     Q. You're looking at the eight-hour
7     Q. Yep.                                                 7 exposure period, sir. Do you think that's what we
8     A. I see. So they changed the report.                   8 should be looking at?
9     Q. Well, sir, this is a final report that               9     A. No.
10 I have marked from you -- for you from July 29th,          10 Q. Okay. So if we look at the end of the
11 2003, and what the authors stated in the final             11 48 hours for 35012 it was 73.4 percent at the
12 report was the results of the autoradiography draw         12 field dilution but 132.4 percent in the
13 showed too much variation to draw any conclusions.         13 concentrate, right?
14        Did I read that correctly?                          14 A. Okay.
15 A. Yeah, but I think my report was an                      15 Q. Do you see that?
16 official signed report as well. Let me check. I            16 A. Yeah.
17 thought it had been signed off. Certificate of             17 Q. Okay. You don't disagree with the
18 analysis. Yeah, here we go. Endorsement of                 18 authors that the results of the autoradiography
19 compliance. Yeah, this is sort of like -- I had a          19 show variation there?
20 friend once who had two resumes. They were both            20 A. No.
21 different.                                                 21 Q. Okay. If you go on Exhibit 30 to
22 Q. Okay. So --                                             22 paragraph 6, which is on the next page, read this
23 A. This report is strange in that there's                  23 and I want to know if I read it correctly.
24 two different summaries.                                   24        "In conclusion, an 8-hour exposure
25 Q. And I understand you want to talk about                 25 resulted in a penetration of 10% (MON 35012
                                                        443                                                            445
1 the document that was in Exhibit 2, but I'm asking          1 concentration), 2.6% (MON 35012 field dilution),
2 if I read something correctly in Exhibit 30. So             2 .5% (MON 0139 70% concentrate), and 1.4 percent
3 if you can look at that. Paragraph 4 it states,             3 (MON 0139 70% field dilution) over a period of 48
4 "The results of the autoradiography show too much           4 hours in viable rat skin membranes. Due to the
5 variation to draw any conclusions."                         5 high variation in dermal penetration within the
6         Did I read that correctly?                          6 test groups and the poor recoveries, the data
7     A. You did. Your version is certainly                   7 presented in this report are not acceptable for
8 more favorable for your client, so I guess that's           8 regulatory use and risk assessment. This study
9 what we're going to use, then, and not this                 9 should be regarded as a sighting study rather than
10 version?                                                   10 a definitive study."
11 Q. Well, sir, I'm just reading the final                   11        Did I read that correctly?
12 report on --                                               12    A.   Yes.
13 A. Well, I think this is a final report                    13 Q. Okay. And do you agree that there was
14 too. I see where it's been certified.                      14 a high variation in dermal penetration within the
15 Q. Well, I'm going to ask you questions                    15 test groups in this study?
16 about Exhibit 30.                                          16 A. Yes.
17 A. Okay.                                                   17 Q. Do you agree that certain test groups
18 Q. So you can look at that.                                18 had poor recoveries?
19        What does it mean to have too much                  19 A. Yes. I'm showing some very low
20 variation to draw any conclusions in a dermal              20 recoveries. For example, the -- yeah.
21 absorption study?                                          21 Q. Okay. And do you agree that when you
22 A. Generally if the recovery is greater or                 22 have low recoveries and high variation that --
23 lesser than 10 percent.                                    23 well, strike that.
24 Q. And they had recovery of 132.4 percent                  24        What does it mean to be a citing study?
25 in one of their test arms, right?                          25 A. Perhaps that is a term used in the
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1 Netherlands, as I'm not familiar with it.                   1     A. Yes, the cell.
2     Q. Okay. And I'm correct that Mr. Hall                  2     Q. Franz diffusion cell method. And he
3 used a field dilution of glyphosate, right?                 3 found when he looked at glyphosate, Roundup, and
4     A. Correct.                                             4 diluted Roundup, over an eight-hour period in an
5     Q. And for the 48 hours in the rat skin                 5 in vitro human skin model that the absorption at
6 brain -- skin membranes with an eight-hour                  6 its highest amount was a .15 percent, right?
7 exposure in paragraph 6 of Exhibit 30, the authors          7     A. I believe so.
8 reported a 2.6 percent absorption, right?                   8     Q. Okay. And he found that though the
9     A. Yes.                                                 9 diluted had the highest rate of absorption, the
10 Q. And that 2.6 percent absorption rate                    10 micrograms per centimeter cubed -- squared
11 comes from a formulation that most closely                 11 absorbed was actually the lowest in that method.
12 approximates Mr. Hall's absorption -- Mr. Hall's           12 Do you remember that?
13 exposure, right?                                           13 A. No.
14 A. Yes.                                                    14 Q. Okay.
15 Q. And the main difference is this is with                 15 A. I don't disagree, but I don't remember
16 a cocoamine surfactant as opposed to a                     16 that, no.
17 polyoxyethylated tallow amine surfactant, correct?         17 Q. That would make sense to you, though,
18 A. Yes.                                                    18 right?
19 Q. Now, if we go -- now, this was a                        19 A. The lower amount would produce a higher
20 48-hour study, right?                                      20 percentage.
21 A. Yes.                                                    21 Q. But a lower absolute amount absorbed
22 Q. And it was in rat skin, not human skin,                 22 depending on the ratios?
23 right?                                                     23 A. Correct, but that becomes irrelevant
24 A. Correct.                                                24 because of the massive surface area in a human
25 Q. And we discussed earlier that there can                 25 compared to a square centimeter -- you know, a .1
                                                        447                                                          449
1 be differences between animal skin and human skin,          1 or a square centimeter cell.
2 right?                                                      2     Q. Okay. And do you recall that Dr. Franz
3     A. Yes.                                                 3 found that at topical doses of greater than
4     Q. And generally, animal skin, especially               4 3,500 micrograms per centimeter squared, systemic
5 rodent skin, is more permeable than human skin,             5 absorption will be in the range of 1.6 to
6 right?                                                      6 2.3 micrograms per centimeter squared?
7     A. Well, if you look at my report, the                  7     A. No. Again, I don't disagree. I just
8 majority of the time it is, yes, but there are a            8 don't remember reading that.
9 good number of exceptions to that where the                 9        (Exhibit Number 31, Final Report:
10 reverse is true.                                           10 Evaluation of the Percutaneous Absorption of
11 Q. But those exceptions have not been                      11 Roundup Formulations in Man Using an In-Vitro
12 recorded in the published literature to include            12 Technique, Bates-stamped MONGLY00135633 - 646, was
13 glyphosate, right?                                         13 marked for identification.)
14 A. Well, I haven't actually come across a                  14       BY MR. KALAS:
15 study that actually made that comparison. We do            15 Q. Okay. Let me -- I just want to mark as
16 have human cadaver skin screening studies as well          16 Exhibit 31 and just ask you if you recognize the
17 as rat screening studies and there has been quite          17 document I've marked as Exhibit 31 as something
18 a bit of variability.                                      18 you've reviewed?
19 Q. Did you -- did you review a study by                    19 A. I don't think I have this document.
20 Thomas Franz in 1983 comparing the absorption of           20 Q. The -- Dr. Franz is regarded as an
21 glyphosate, Roundup, and diluted Roundup?                  21 authority on percutaneous absorption, right?
22 A. I believe so. Or I may have read the                    22 A. I'm not going to use the term
23 summary of it, the EPA -- the EPA document.                23 "authority." Certainly recognized in the
24 Q. Thomas Franz is the gentleman who                       24 peer-reviewed literature. He's published numerous
25 invented the Franz diffusion method, right?                25 studies. In terms of his personal reputation and
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1 impartiality, I can't comment on that.                      1 single study on in vitro skin -- human skin models
2     Q. And Dr. Franz found that glyphosate in               2 to make sure they didn't come from a live person's
3 an eight-hour human skin absorption model was               3 skin?
4 absorbed at less than 1 percent, right, no matter           4     A. No. I said in vivo.
5 how it was diluted?                                         5     Q. Okay. So they're not all cadaver skin,
6     A. With this particular screening method,               6 correct? Some came from breast reconstructions,
7 yes.                                                        7 for instance?
8     Q. Okay. And he's not the only one who's                8     A. DTL I believe did use liposuction skin.
9 found that, correct? Dr. Nielsen's found it in              9     Q. Okay. So some are from live people as
10 the peer-reviewed literature that glyphosate in an         10 opposed to dead people?
11 eight-hour in vitro human skin absorption                  11 A. Yes. That's true based on the DTL
12 methodology is absorbed at a rate of less than             12 study.
13 1 percent, correct?                                        13 Q. Okay. So there's actually many DTL
14 A. That has been published, yes.                           14 studies, right?
15 Q. And Dr. Wester, in the 1996 Wester                      15 A. I'm sorry?
16 article, found after eight hours, less than                16 Q. There's actually many DTL studies,
17 1 percent of glyphosate is absorbed in an in vitro         17 right?
18 human skin model without cotton, correct?                  18 A. Oh, yes.
19 A. Yes, but keep in mind that's a                          19 Q. And when you mention DTL that's a
20 screening method using cadaver skin. It's not              20 laboratory that has done some dermal absorption
21 metabolically activated. It's dead skin. And it            21 studies, correct?
22 is not to be intended as anything more than a              22 A. Yeah. That's a UK laboratory. I
23 screening model.                                           23 believe that -- yeah, they've run several studies
24 Q. And you'd want to look at dermatome                     24 I've looked at.
25 models, right, because that's metabolically                25 Q. You reviewed three studies by Dr. Ward,
                                                        451                                                          453
1 activated, correct?                                         1 right? And those are the tape stripping studies
2     A. No, it's not. The dermatome model's                  2 you discussed in your toxicological notes, right?
3 simply using a microtome method removing the                3     A. Yes.
4 thicker mass of the epidermis making a thinner,             4     Q. In addition to Dr. Ward, there's also
5 more workable tissue piece to place on the Franz            5 four studies by Dr. Davies on formulation
6 cell. Metabolically activated can be performed on           6 absorption. Have you reviewed those studies?
7 a non dermatome tissue by adding certain active             7     A. Dave Fox?
8 enzymes and other nutrients to a live tissue.               8     Q. Davies, sir, D-A-V --
9     Q. You're referring to S9?                              9     A. I was looking at Dave Fox.
10 A. I'm sorry?                                              10 Q. D-A-V-I-E-S. Have you reviewed any of
11 Q. You're referring to S9?                                 11 those studies done by Dr. Davies at DTL?
12 A. S9?                                                     12 A. Dr. Ward?
13 Q. To metabolically activate it. Is that                   13 Q. No, sir. We already talked about the
14 one of the compounds you're talking about?                 14 three Ward studies.
15 A. Yes.                                                    15 A. Yeah, okay.
16 Q. Let me ask you this: Are you aware of                   16 Q. And you reviewed those. Have you
17 any human skin absorption study that has found an          17 reviewed any DTL studies conducted by Dr. Davies?
18 absorption of glyphosate over 1 percent over an            18 There are four in the production set on dermal
19 eight-hour period, other than the TNO study we're          19 absorption of formulated products. Have you seen
20 looking at right now?                                      20 those?
21 A. Not beyond the TNO study, but I point                   21 A. I think so. I'm just trying to figure
22 out those studies that are less than 1 percent are         22 out where I put them. I think I recently received
23 on cadaver skin, and they're not true in vivo              23 those.
24 measurements.                                              24 Q. Okay. And are you going to be offering
25 Q. Well, you're -- have you reviewed every                 25 criticisms of those studies at trial?
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1          MR. SELDOMRIDGE: Counsel, do you have             1 no criticisms to offer of those studies either,
2  a copy   of those studies to show the doctor?             2 right?
3          MR. KALAS: I do, but he usually brings            3      A. Correct.
4 everything he's looked at. So . . .                        4      Q. Okay. Now, as far as Dr. Ward goes,
5          If he's got it, he's got it. If not,              5 one of the things you criticized those studies for
6 I'll show them to him.                                     6 were for their tape stripping, right?
7      A. You know, I think what happened was                7      A. Yes.
8  that  they're on my list. Remember a couple weeks         8      Q. But those studies did not -- those
9 ago we --                                                  9 studies reported two values for dermal absorption
10         BY MR. KALAS:                                     10 of glyphosate, the values for the actual amount
11 Q. Right.                                                 11 they measured absorbed in the receptor fluid in
12 A. -- provided a list.                                    12 addition to an amount that was bioavailable based
13 Q. We marked that.                                        13 on the tape stripping.
14 A. And if they're on that list, I did                     14        Do you recall that?
15 review them, but I think I failed to print them.          15 A. Yes.
16 Q. Now, if they're not on that list does                  16 Q. Okay. And the amount that was
17 that mean you didn't review them?                         17 bioavailable included the tape stripped value
18 A. That's correct.                                        18 still were under 1 percent in those studies,
19 Q. Okay. So I'll represent they're not on                 19 right?
20 the list. So the four studies by Dr. Davies -- we         20 A. Yes.
21 can look at the list, actually. I marked it so            21
22 you don't have to take my word for it.                    22
23         MR. SELDOMRIDGE: And I will also note             23
24 that we've supplied additional information just           24
25 via email.                                                25
                                                       455                                                          457
1         MR. KALAS: You marked --                           1
2         MR. SELDOMRIDGE: That was not included             2
3 on the list.                                               3
4         MR. KALAS: Right. Those were                       4
5 Dr. Hansen's photographs.                                  5
6         MR. SELDOMRIDGE: That's correct.                   6     A. Yeah, that's right.
7         MR. KALAS: Okay. But that did not                  7     Q. Okay. And the POEM model is based on a
8 include the Davies studies, correct, Counsel?              8 seven-hour workday, right? One hour
9         MR. SELDOMRIDGE: Not that I'm aware                9 mixing/loading, six hours applying, right?
10 of.                                                       10 A. Yeah, it is.
11        BY MR. KALAS:                                      11 Q. And Mr. Hall testified that he spent
12     Q.  Okay. And so today, sitting here                  12 about 20 minutes applying Roundup on four yards a
13 today, you don't have any criticisms to offer the         13 day, right? So 20 minutes per yard, four yards?
14 Davies studies if you haven't seen them, right?           14 A. I have one hour, I believe. Let me
15 A. Correct.                                               15 see.
16 Q. Likewise, the three studies done at DTL                16 Q. You don't recall that Mr. Hall
17 by Dr. Smith, do you have any criticisms to offer         17 testified that he'd do 15 minutes per property
18 of those studies if they aren't on your                   18 spraying at his deposition?
19 supplemental list?                                        19 A. I have April 1st to October 31st each
20 A. The DTL studies?                                       20 year, 2008 to 2012, five years, for four to five
21 Q. Three studies at DTL by a Dr. Smith.                   21 days per week during which he applied Roundup a
22 Not Ward. Smith.                                          22 minimum of one to two hours per day. And I have
23 A. I'm not familiar with Dr. Smith's                      23 mathematical calculations in my report as well.
24 studies.                                                  24 If we look at page 124.
25 Q. Okay. So sitting here today you have                   25 Q. Okay. You said an hour to two hours
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1 per day, right?                                           1 to apples. And if I take the dose calculation, we
2     A. Yeah.                                              2 can't compare that to the human epidemiologic
3     Q. Okay. So if you applied an hour and a              3 literature.
4 half per day, he would apply for about a quarter          4     Q. Okay.
5 amount of the time as the applicators in the POEM         5     A. It is similar to -- a great example
6 model, right?                                             6 would be inhalation of carbon monoxide. Okay. We
7     A. Correct.                                           7 could -- we could -- we know it's regulated by
8     Q.                                                    8 part per million levels in air, but we could draw
9                                                           9 a blood sample for carboxyhemoglobin and get a
10                                                          10 dose and -- well, actually that could work in that
11                                                          11 case.
12                                                          12        But there are instances in toxicology
13                                                          13 where exposure days or exposure years -- for
14                                                          14 example, benzene. Benzene is based on benzene
15                                                          15 exposure years. It takes a minimal amount of
16 A. Roughly, yeah.                                        16 benzene exposure years to be compatible with that
17 Q. Okay. And so you'd agree with me that                 17 in the studies that produce AML. So we could take
18 the data you put as inputs in your POEM model            18 a blood level of benzene and it would be useless.
19 matter as to what your outcome is in that model,         19 There's nothing to compare it to.
20 right?                                                   20 Q. Okay. I understand. So in order to
21 A. Correct. And the correct values, as I                 21 compare apples to apples for Mr. Hall what we
22 stated, for dermal absorption between three and          22 really should be looking at are exposure days,
23 10 percent and there's no dispute over body              23 right?
24 weight. There's -- I don't believe there's any           24 A. Exposure days per year and duration of
25 dispute over the number of hours per day or the          25 exposure.
                                                      459                                                      461
1 time duration. And that does -- what I disagree           1      Q. And as we saw earlier in the
2 with is this 1 percent dermal absorption.                 2 Agricultural Health Study for the highest tertile
3     Q. Now, incorrect inputs in a POEM                    3 of both intensity weighted exposure and exposure
4 model -- in the POEM model could overestimate or          4 days, there was no statistically significant
5 underestimate exposure, right?                            5 relationship between glyphosate exposure and
6     A. It could, but of course all of this is             6 follicular lymphoma, right?
7 somewhat irrelevant in that my primary comparison         7      A. That is correct for that one study.
8 is his hours and days worked over that five-year          8      Q. And --
9 period compared to that of the hours exposure and         9      A. That's not the only human epidemiologic
10 work days in the human epidemiological data which        10 study out there.
11 shows a significantly increased risk of                  11 Q. And as we saw in the Eriksson study
12 non-Hodgkin's lymphoma.                                  12 the -- you stated you weren't going to offer any
13 Q. Okay.                                                 13 dose response opinions about that study, right?
14 A. And I made my comparison, as you know,                14 That was your testimony earlier. Are you changing
15 to the agricultural worker study, and that clearly       15 it?
16                                                          16 A. I can't -- no. I just don't understand
17                                                          17 your question. There was no dose response days of
18                                                          18 exposure per year table in that study, that I
19                                                          19 recall.
20 Q. Okay. And so when you come and talk to                20 Q. Okay. And so you're not offering any
21 the jury, you're going to tell them that the best        21 opinions on any dose response data in that study,
22 measure of his dose are the exposure days, right?        22 right?
23 A. Yes.                                                  23 A. I don't think that data is available in
24 Q. And not the POEM model?                               24 that study.
25 A. Correct, because we're comparing apples               25 Q. Okay. And as we saw, the only -- there
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1 was no controlling for other pesticide exposures            1 and Minnesota, right?
2 in latency analysis in that study, right?                   2      A. Correct.
3     A. No, other than the fact of years in                  3      Q. Okay. And if you go to page 325 --
4 which those chemicals went out of use.                      4 strike that. Let me ask you, this appeared in
5     Q. Now, you're aware that European                      5 Environmental Health Perspectives, right?
6 regulators no longer use the UK POEM model, right?          6      A. Yes.
7     A. No, I would have to defer that to our                7      Q. That's a peer-reviewed journal?
8  regulation    expert.                                      8      A. Yes.
9     Q. Okay. So you haven't seen the                        9      Q. So if you go to page 325, they
10 health -- the HSE department of the United Kingdom         10 calculated in Figure 1 a systemic dose based on
11 stating that the POEM model no longer reflects             11 milligrams per kilogram body weight, right? It's
12 current application techniques?                            12 in the Figure 1 in the bottom left.
13 A. No.                                                     13 A. Figure 1?
14 Q. Have you seen that the UN World Health                  14 Q. Page 325, sir. I think you're on 324.
15 Organization international program on chemical             15 A. Oh, I -- yes.
16 safety has criticized the POEM model as not being          16 Q. Okay. And for the 90th percentile
17 validated?                                                 17 there they calculated a systemic dose of
18 A. That was kind of lengthy. Say it                        18 approximately .001 milligrams per kilogram per --
19 again, please.                                             19 strike that.
20 Q. Have you seen that the UN World Health                  20        They calculated a systemic dose in the
21 Organization international program on chemical             21 90th percentile of .001 milligrams per kilogram,
22 safety has stated that the POEM model has not been         22 right?
23 validated?                                                 23 A. Yes.
24 A. No.                                                     24 Q. And they were calculating that based on
25 Q. What does it mean for a model to be                     25 a urinary analysis, right?
                                                        463                                                          465
1 validated?                                                  1     A. Yes.
2     A. Usually that would mean tested and                   2     Q. And based on the Wester data, we should
3 compared with some type of certification.                   3 be looking at urine and feces, right?
4     Q. Is there any biomonitoring data you've               4     A. Right.
5 reviewed that supports your POEM dose that you              5     Q. That's your opinion?
6 presented in Table 7 for applicators?                       6     A. Right.
7     A. No, and that's because the studies that              7     Q. And the Wester data suggests that
8 have been performed are defective as they relied            8 four-fifths of the dermally absorbed glyphosate
9 upon 100 percent urine excretion and ignored                9 would be excreted via the feces in your opinion,
10 hepatic fecal excretion.                                   10 right?
11 Q. So let's look at one of them, in the                    11 A. Depending on the dose.
12 time we have left. I'm marking as Exhibit 32 an            12 Q. Okay. The dose D, which you're relying
13 article titled "Glyphosate Biomonitoring For               13 upon to state that glyphosate is excreted mainly
14 Farmers and Their Families: Results From the Farm          14 via the feces suggests four-fifths would be
15 Family Exposure Study."                                    15 excreted in the feces, right?
16        (Exhibit Number 32, Article Titled                  16 A. Yes.
17 “Glyphosate Biomonitoring for Farmers and Their            17 Q. Okay. And so if we multiplied the
18 Families: Results from the Farm Family Exposure            18 systemic dose here by five to account for that,
19 Study,” was marked for identification.)                    19 the 90th percentile would be .005 milligrams per
20        MR. SELDOMRIDGE: Thank you.                         20 kilogram per day, right?
21        BY MR. KALAS:                                       21 A. Yes.
22 Q. You've seen this before, right?                         22 Q. Okay. And you are familiar with the
23 A. Oh, yes.                                                23 Cal EPA NSRL for glyphosate, right?
24 Q. Okay. And this was a biomonitoring                      24 A. Yes.
25 study in urine for applicators in South Carolina           25 Q. And the Cal EPA NSRL for glyphosate
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1 suggests a no significant risk level of                       1     Q. Have you reviewed any other
2 1.1 milligrams a day, right?                                  2  biomonitoring   study other than Acquavella that you
3      A. (Reviewing document.)                                 3 would argue supports a 1.445 milligram per
4      Q. I think they list it as                               4 kilogram per day dose for glyphosate?
5 1100 micrograms, but . . .                                    5     A. No. And I said the glyphosate
6      A. (Reviewing document.)                                 6 biomonitoring study was assessed, and a lot of
7          That's the responses. Yeah, NSRL 1100                7 deviations and defects were found. So I don't
8  microgram      per day, that's not per kilogram body         8 know that that number is of any value.
9 weight so that's 1.1 milligram per day divided by             9     Q. Well, okay. You stated earlier you
10 119.                                                         10 didn't review the Lavy study, right?
11 Q. Yes, sir. So what the Cal NSRL means                      11 A. Correct.
12 is that there's -- by their calculations a one in            12 Q. Did you review the Curwin study,
13 100,000 risk of -- one in 100,000 years' risk of             13 C-U-R-W-I-N?
14 cancer at that dose, right?                                  14 A. I don't remember. What is the title?
15 A. Well, that's based on a hemangioma --                     15 Q. "Urinary Pesticide Concentrations
16 hemangioma study which I don't believe is the                16 Amongst Children, Mothers, and Fathers Living in
17 correct study to calculate the slope on. As you              17 Farm and Nonfarm Households in Iowa." Did you
18 know, I used the Wood study in mice to calculate             18 review that study?
19 the cancer slope and came up with a more                     19 A. Yes, I believe I have that study.
20 protective number than that. But in theory, what             20 Q. And that study found parts per billion
21 you're saying is correct.                                    21 for glyphosate exposure that was actually lower
22 Q. Okay. And there's no regulatory agency                    22 than in the Acquavella study, right?
23 you're aware of that has used the lymphoma data in           23 A. That's right.
24 male mice in the Wood study to calculate a no                24 Q. Okay. And so that again is another
25 significant risk level, right?                               25 study that does not support your -- that does not
                                                          467                                                             469
1     A. That's correct.                                        1 support the POEM dose of 1.445 milligrams per
2                                                               2 kilogram per day, right?
3                                                               3     A. That's correct.
4                                                               4     Q. Okay. Did you review the Johnson 2005
5                                                               5 study on passive dosimetry with glyphosate
6                                                               6 exposure in backpack applicators?
7                                                               7     A. I believe within one of the documents I
8                                                               8 have it was discussed.
9                                                               9     Q. Okay. And that study found exposures
10 A. Yes. And, you know, that's consistent                     10 that were in the range of .0012 milligrams per
11 with the -- the study -- the Agricultural Health             11 kilogram per day, right?
12 Study that did not find a statistically                      12 A. I don't recall.
13 significant rate of follicular cell malignancy,              13 Q. Okay. Do you think that study supports
14 which I should point out that there were some                14 a dose of 1.445 milligrams per kilogram per day?
15 terrible criticisms as to the quality of this                15 A. I would have to review the study to
16 study by Acquavella, et al.                                  16 answer that.
17       THE REPORTER: I'm sorry. By?                           17 Q. Okay. You don't -- sitting here right
18       THE WITNESS: Acquavella, et al., with                  18 now, you wouldn't argue that that study supports
19 respect to its reliability.                                  19 your position, right?
20       BY MR. KALAS:                                          20 A. I can't say either way.
21 Q. Have you reviewed any other                               21 Q. Okay. How about the Connolly 2017
22 biomonitoring study that supports a                          22 study? Did you review that study on passive
23 1.445 milligrams per kilogram per day dose for               23 dosimetry?
24 glyphosate in applicators?                                   24 A. I don't know. I have to see it.
25 A. I'm sorry. Can you repeat that?                           25 Q. The title of it was "Exposure
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                                                       470                                                          472
1 Assessment Using Human Biomonitoring For                   1 detail to answer that.
2 Glyphosate and Fluroxypyr" --                              2     Q. Okay. You aren't prepared to argue
3 F-L-U-R-O-X-Y-P-Y-R -- "Users in Amenity                   3 that they do right now, right?
4 Horticulture"?                                             4     A. No.
5     A. I think it was reviewed in the EPA                  5     Q. Okay. Now, you've stated before in a
6 document and I'm familiar with it from the EPA             6 case called Garza that in order to find something
7 summary.                                                   7 to be a substantial contributing factor to
8     Q. And that study in passive dosimetry did             8 someone's cancers you need to determine whether
9 not find a dose approaching 1.445 milligrams per           9 the increased risk is greater than background
10 kilogram per day, right?                                  10 risk. Do you remember testifying to that?
11 A. No.                                                    11 A. No. What is the name of the case?
12 Q. Did you review the internal Cowell and                 12 Q. Garza, sir.
13 Steinman study conducted by Monsanto on Georgia           13 A. More information. That doesn't ring a
14 applicators, C-O-W-E-L-L?                                 14 bell.
15 A. No.                                                    15 Q. One sec. Garza v. Allied Chem. It was
16 Q. Okay. And that's -- okay. So you                       16 in Texas.
17 didn't review it. So you won't be arguing that            17 A. Garza versus Allied Chem?
18 that study supports a dose of 1.445 milligram per         18 Q. Yes, sir.
19 kilogram per day?                                         19 A. I still don't -- what year?
20 A. I don't have any information on that                   20 Q. 2009, sir. Well, let me ask you if you
21 study.                                                    21 agree with this statement.
22 Q. Did you review the Spanish applicator                  22 A. Well, why don't you refresh my memory.
23 study on backpack applicators in Spain?                   23 That'll help.
24 A. As -- in summary, yes, through EPA                     24 Q. Okay.
25 document and there was also a blurb -- something          25 A. Can I see the cover page? That'll
                                                       471                                                          473
1 about it in one of the Monsanto documents I have           1 really help.
2 as well.                                                   2     Q. Sure. I have some writing on it, but
3     Q. Did the passive dosimetry in urinalysis             3 that's okay. Do you remember testifying in that
4 in that study approach 1.445 milligrams per                4 case?
5 kilogram per day?                                          5     A. Oh, I think I know what this was.
6     A. No.                                                 6  Yeah.   Yeah.
7     Q. Is there any passive dosimetry or                   7     Q. So do you remember testifying that in
8 biomonitoring study you can point me to to support         8 order for something to be a substantial
9 that dose figure?                                          9 contributing factor to someone's cancer, you need
10 A. No. And in part because they rely upon                 10 to determine whether the increased risk from that
11 urinary excretion and assumed 100 percent through         11 substance is greater than the background?
12 urinary excretion. And also in the studies, at            12 A. Correct.
13 least the studies that I reviewed, these were not         13 Q. Okay. And you still agree with that,
14 people who were generally working five days a week        14 right?
15 year-round or even seasonally but were generally          15 A. Of course.
16 farmers who occasionally use the material.                16 Q. Okay. And the background for NHL is
17 Q. Okay. So passive dosimetry studies                     17 about 20 in 100,000, right?
18 share the same urinary excretion issue that the           18 A. No, that's not correct for follicular.
19 biomonitoring studies do?                                 19
20 A. No.                                                    20
21 Q. Okay. So the passive dosimetry studies                 21
22 also don't support the 1.445 milligram per                22
23 kilogram figure per day that you report in the            23 Q. Okay. What epidemiology study in the
24 POEM model, right?                                        24 peer-reviewed literature supports glyphosate as a
25 A. I would have to review the studies in                  25 risk factor for follicular lymphoma?
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1     A. I'd have to defer that to the                       1
2  epidemiologists.                                          2
3     Q. But you agree they should be looking at             3
4 the follicular lymphoma data and not NHL                   4
5 generally, right?                                          5
6     A. No. They should be looking at both.                 6
7     Q. Okay. So --                                         7     Q. Okay. And in order to reach a
8     A. Because the reason is when a malignancy             8  conclusion  in this case -- strike that.
9 is rare, especially in that age group, it's not            9         MR. KALAS: All right. I'm going to
10 always possible to have a large enough population         10 reserve the rest of my time. I think I have 11
11 to overcome Type 2 error. Statistically Type 2            11 minutes by my count.
12 error is when there certainly is not enough power         12        MR. SELDOMRIDGE: I think that sounds
13 to determine whether change is there or not.              13 right. The court reporter would know better than
14        And that is always a problem with rare             14 I do.
15 diseases. And, therefore, sometimes they have to          15        MR. KALAS: Want to switch or you just
16 be bunched together under a general category such         16 want to ask?
17 as lymphoma.                                              17        MR. SELDOMRIDGE: I think I'm okay
18 Q. Is it your testimony that glyphosate                   18 here.
19 exposure causes all types of non-Hodgkin's                19        MR. KALAS: Do you guys need a break?
20 lymphoma or only some types?                              20        MR. SELDOMRIDGE: Is that okay with you
21 A. I'd have to defer that to the                          21 as well?
22 epidemiologist.                                           22        THE WITNESS: No.
23 Q. Okay. You're not offering an opinion                   23        THE VIDEOGRAPHER: Off the record?
24 on that one way or another?                               24        MR. KALAS: Yeah, let's go off the
25 A. No.                                                    25 record.
                                                       475                                                         477
1                                                            1        THE VIDEOGRAPHER: The time is 3:30.
2                                                            2 We are off the record.
3                                                            3        (Break taken from 3:30 p.m. to
4                                                            4 3:37 p.m.)
5                                                            5        THE VIDEOGRAPHER: The time is 3:37.
6                                                            6  We  are on the record.
7                                                            7            CROSS-EXAMINATION
8                                                            8        BY MR. SELDOMRIDGE:
9                                                            9     Q. Doctor, do you know if any dermal
10 Q. Which epidemiological literature did                   10 absorption studies have been conducted in live
11 you rely upon -- strike that.                             11 humans?
12        You relied on the AHS study to set that            12 A. Of course.
13 dose level, right?                                        13 Q. Have there been quite a few of these
14 A. In terms of days per year worked, yes.                 14 studies conducted?
15 Q. And the AHS study is negative or null                  15 A. Yeah. Dermal absorption studies are
16 for finding relationship between glyphosate and           16 performed on humans all the time. I mean,
17 any type of lymphoma, right?                              17 every -- for relatively safe chemicals -- probably
18 A. That's correct.                                        18 one of the more dangerous chemicals actually is
19                                                           19 nicotine which has been thoroughly worked up in
20                                                           20 early registry studies for the development of
21                                                           21 Nicoderm, or the patch, the nicotine patch. But
22                                                           22 there's a number of pharmaceuticals and chemicals
23                                                           23 that have been evaluated by in vivo human patch.
24                                                           24 Q. And do you know if these studies have
25                                                           25 been conducted by tobacco companies?
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                                                        478                                                           480
1         MR. KALAS: Objection. Relevance.                    1 counsel's questions to you.
2      A.  I'm not sure by tobacco companies.                 2     A. Very good.
3 Primarily pharmaceutical companies.                         3         MR. KALAS: Just a couple follow-ups
4         BY MR. SELDOMRIDGE:                                 4 there.
5      Q. Do you know if any dermal absorption                5           REDIRECT EXAMINATION
6 studies have been conducted on live humans for              6         BY MR. KALAS:
7 glyphosate?                                                 7     Q. When you state you have no plan to
8      A. None that I'm aware of, which is                    8  offer specific causation for Mr. Hall with regards
9 surprising since Monsanto claims that it is                 9 to the cause of his cancer, I want to make sure I
10 relatively harmless, and it is confusing. I don't          10 understand that.
11 know why Monsanto has not performed dermal                 11        Are you going to tell the jury that
12 absorption studies on live humans.                         12 Mr. Hall's cancer was caused by his exposure to
13 Q. Doctor, what about dermal absorption                    13 glyphosate-based herbicides?
14 studies on live humans for glyphosate-based                14 A. No. I'm going to explain the
15 formulated products?                                       15 properties, the absorption, distribution,
16        MR. KALAS: Objection. Form.                         16 metabolism, and the carcinogenicity aspects of
17 A. Well, certainly I would be opposed to                   17 glyphosate and Roundup super concentrate.
18 that because I am intimately familiar with the             18 Q. Okay. And so you only plan to offer a
19 toxicity of the formulation that is the glyphosate         19 general causation opinion that it's your opinion
20 and the co-contaminants, but based upon the                20 glyphosate-based herbicides can cause cancer,
21 position Monsanto has taken regarding the product,         21 correct?
22 I find it unusual or uncertain as to why they have         22 A. Yes, but as I said a moment ago,
23 not conducted dermal absorption studies on their           23 relative to other potential carcinogens.
24 own people.                                                24
25        ///                                                 25
                                                        479                                                           481
1         BY MR. SELDOMRIDGE:                                 1
2     Q. And, Doctor, are you an oncologist?                  2
3     A. No.                                                  3
4     Q. Doctor, are you an epidemiologist?                   4
5     A. No. I have -- I have been trained and                5
6  I have  taught a section of epidemiology to the            6
7 medical students, but I'm not an epidemiologist.            7
8 It's just as a toxicologist, we are trained to use          8
9 epidemiologic studies as part of our work.                  9
10 Q. And it's important to you to know how                   10
11 to interpret those studies?                                11
12 A. Absolutely.                                             12
13 Q. Doctor, at trial are you going to offer                 13
14 a differential diagnosis of Mr. Hall?                      14
15 A. No. I have no plan to offer a specific                  15 Q. And you mentioned -- you talked about
16 causation opinion for Mr. Hall with respect to the         16 dermal in vivo human studies with Mr. Seldomridge.
17 cause of his cancer but, rather, my role and my            17 Do you recall that?
18 duties in this case as a toxicologist is to                18 A. Yes.
19 determine whether or not glyphosate and the                19 Q. Okay. And you mentioned the Nicoderm
20 mixture Roundup super concentrate as used by               20 patch as an example of a dermal in vivo human
21 Mr. Hall is carcinogenic and comparatively, as to          21 study, right?
22 its potency to any other carcinogen he may have            22 A. Yes.
23 been exposed to during his life.                           23 Q. Okay. Now, the Nicoderm patch, there
24 Q. Doctor, that's all the questions I have                 24 was a belief that there was some pharmacological
25 for you at this time, depending on defense                 25 benefit to the user of that patch, right?
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                                                       482                                                          484
1     A. Yes.                                                1              CERTIFICATE OF OATH
2     Q. Okay. And you don't believe there's                 2
3 any pharmacological benefit from dermal absorption         3
4 to glyphosate, right?                                      4 STATE OF FLORIDA
5     A. Correct.                                            5 COUNTY OF LEE
6     Q. Are you prepared to testify that a in               6
7 vivo human study for dermal absorption of                  7     I, the undersigned authority, certify that
8 glyphosate would pass muster at an institutional           8  WILLIAM     SAWYER, Ph.D., personally appeared before me
9 review board at a university in this country?              9 and was duly sworn.
10 A. It could if that board had the same                    10
11 beliefs that Monsanto has, that it's a harmless           11 WITNESS my hand and official seal this 17th day
12 chemical and you literally have to drink it to            12 of October, 2018.
13 cause any toxicity.                                       13
14 Q. Well, sir, isn't it true that in order                 14
15 to do in vivo human studies of compounds in this          15 _________________________________________________
16 country we need to believe that there is some             16 Rhonda Hall-Breuwet, RDR, CRR, LCR, CCR, FPR, CLR
17 pharmacological benefit to it?                            17 NCRA Realtime Systems Administrator
18 A. Not if the chemical's harmless, no.                    18 Notary Public - State of Florida
19 Q. Okay. So it's your testimony that a                    19 My Commission Expires: 9/28/19
20 university would approve an in vivo dermal human          20 Commission No. FF 915315
21 absorption study of glyphosate?                           21
22 A. If the chemical were harmless, yes.                    22
23        MR. KALAS: Okay. I have no further                 23
24 questions.                                                24
25        MR. SELDOMRIDGE: That's all I have as              25
                                                       483                                                          485
1 well, Doctor.                                              1              CERTIFICATE
2         MR. KALAS: Cool. One thing. I                      2
3 mentioned this on the August deposition. This is           3 STATE OF FLORIDA:
4 a continuation, so I don't know if I need to               4
5 mention it again, but designate it as                      5      I, RHONDA HALL-BREUWET, RDR, CRR, LCR, CCR, FPR,
6 confidential. So, all right. Thanks.                       6  CLR,   NCRA Realtime Systems Administrator, shorthand
          THE VIDEOGRAPHER: This marks the end               7  reporter,  do hereby certify:
7
                                                             8      That the witness whose deposition is hereinbefore
8 of Media Number 3 in the deposition of William
                                                             9 set forth was duly sworn, and that such deposition is
9 Sawyer. This also concludes today's deposition.
                                                             10 a true record of the testimony given by such witness.
10 The time is 3:45. We are off the record.                         I further certify that I am not related to any of
                                                             11
11        THE REPORTER: Do you need the same as
                                                             12 the parties to this action by blood or marriage, and
12 last time?                                                13 that I am in no way interested in the outcome of this
13        MR. SELDOMRIDGE: The same as last                  14 matter.
14 time, E-tran.                                             15     IN WITNESS WHEREOF, I have hereunto set my hand
15        (Concluded at 3:46 p.m.)                           16 this 17th day of October, 2018.
16                                                           17
17                                                           18
18                                                           19
19                                                           20 __________________________________________________
20                                                           21 RHONDA HALL-BREUWET, RDR, CRR, LCR, CCR, FPR, CLR,
21                                                           22 NCRA Realtime Systems Administrator
22                                                           23
23                                                           24
24                                                           25
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